                    Case 19-32928            Doc 1       Filed 09/20/19 Entered 09/20/19 09:09:59                              Desc Main
                                                           Document     Page 1 of 89
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MINNESOTA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Rancher's Legacy Meat Co.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Unger Meat Company
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4301 White Bear Parkway
                                  Vadnais Heights, MN 55110
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Ramsey                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  4301 White Bear Parkway Vadnais Heights, MN
                                                                                                  55110
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://rancherslegacy.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                               Document     Page 2 ofCase
                                                                                      89 number (if known)
          Rancher's Legacy Meat Co.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3116

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor
                                                            Document     Page 3 ofCase
                                                                                   89 number (if known)
         Rancher's Legacy Meat Co.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                                                              4301 White Bear Parkway
                                             Where is the property?           Vadnais Heights, MN, 55110-0000
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No

                                                Yes.    Insurance agency      Hays Companies
                                                        Contact name          Douglas Livingston
                                                        Phone                 612-373-9457


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
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                                                                                  89 number (if known)
          Rancher's Legacy Meat Co.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 20, 2019
                                                  MM / DD / YYYY


                             X   /s/ Arlyn J. Lomen                                                      Arlyn J. Lomen
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Cameron A. Lallier                                                   Date September 20, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Cameron A. Lallier 393213
                                 Printed name

                                 Foley & Mansfield PLLP
                                 Firm name

                                 250 Marquette Avenue, Suite 1200
                                 Minneapolis, MN 55401
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     612-338-8788                  Email address      jlavaque@foleymansfield.com

                                 393213 MN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Debtor     Rancher's LegacyMeat                                                                Case number (ii known)
                                                                                               Go.-
          Name



- Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement ln connection with a bankruptcy case can result in fines up to $500.000 or
           imprisonment for up to 20 years, or both. 18 U.8.0. $$ 152, 1341, 1519, and 3571.

17, Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition,
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the Information in thls petltlon and have a reasonable belief that the information Is true and correct,

                                 I declare under penally of perjury that the foregoing Is true and correct.

                                 Executed on



                                                                                                         Arlyn J. Lomen
                                                                                                         Printed name

                                 Title




18. 8lgnature of attorney    X           7                 ch/-                                           Date September 20, 2019
                                     moture oratory,f-?f-'                                                       MM/00/YYYY

                                 Cameron A. Lallier 393213
                                 Printed name

                                 Foley & Mansfield PLLP
                                 F{rm name


                                 250 Marquette Avenue, Sulte 1200
                                 Minneapolis, MN 55401
                                 Number, Street, City, State & ZIP Code

                                 Contact phone       612-338-8788                 Email address      jlavaque@foleymansfield.com

                                 393213 MN
                                 Bar number and State




Official Form 201                            Voluntary Petition for Non-lndivlduals Filing for Bankruptcy                                                  page 4
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 Fill in this information to identify the case:

 Debtor name         Rancher's Legacy Meat Co.

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 20, 2019                      X /s/ Arlyn J. Lomen
                                                                       Signature of individual signing on behalf of debtor

                                                                       Arlyn J. Lomen
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                      Case 19-32928                    Doc 1         Filed 09/20/19 Entered 09/20/19 09:09:59                                      Desc Main
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 Fill in this information to identify the case:
 Debtor name Rancher's Legacy Meat Co.
 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA                                                                                        Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ASC Meyners Inc                                                                                                                                                          $98,940.00
 5140 Palm Valley
 Road
 Ponte Vedra Beach,
 FL 32082
 Ben E. Keith -                                                  Marketing                                                                                              $207,524.00
 General Office                                                  Allowances
 7600 Will Rogers
 Blvd.
 Fort Worth, TX
 76140
 Compart Family                                                                                                                                                           $43,258.12
 Farms, Inc.
 45198 400th Street
 Nicollet, MN 56074
 Empirical Foods,                                                                                                                                                         $55,393.96
 Inc.
 dba NVM
 Distribution LLC NV
 891 Two Rivers
 Drive
 Dakota Dunes, SD
 57049
 Great Plains Beef                                               Trade account                                                                                          $478,788.00
 LLC
 PO Box 82545
 Lincoln, NE 68501
 Green Bay                                                                                                                                                                $40,051.47
 Packaging, Inc.
 Bin No. 53139
 Milwaukee, WI
 53288
 J&B Partners Inc.                                               Trade account                                                                                            $53,189.00
 PO Box 212
 13200 43rd St NE
 Saint Michael, MN
 55376


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Rancher's Legacy Meat Co.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 James A. Ratcliff                                               All of Company's       Contingent             $17,000,000.00              $5,000,000.00            $12,000,000.00
 Ratcliff Ranch                                                  assets, including,     Unliquidated
 24631 South                                                     but not limited to,    Disputed
 Highway 2                                                       equipment, tools,
 Vinita, OK 74301                                                inventory,
                                                                 accounts
                                                                 receivable, and
                                                                 other intangibles.
 James A. Ratcliff                                               Advances made          Contingent                                                                      $655,000.00
 Ratcliff Ranch                                                  between                Unliquidated
 24631 South                                                     12/12/2011 &           Disputed
 Highway 2                                                       02/09/2012
 Vinita, OK 74301
 James A. Ratcliff                                               Unsecured              Contingent                                                                      $418,728.00
 Ratcliff Ranch                                                  Advance -              Unliquidated
 24631 South                                                     08/10/2011 (GL         Disputed
 Highway 2                                                       2740)
 Vinita, OK 74301
 James A. Ratcliff                                               Unsecured              Contingent                                                                      $215,000.00
 Ratcliff Ranch                                                  Advances -             Unliquidated
 24631 South                                                     11/16/2011,            Disputed
 Highway 2                                                       12/01/2011 &
 Vinita, OK 74301                                                03/19/2012) (GL
                                                                 2450)
 Lower Foods                                                                                                                                                              $46,087.69
 Double L Meats
 Richmond, UT 84333
 New Angus, LLC -                                                                                                                                                       $129,231.71
 DemKota
 PO Box 30260
 Omaha, NE
 68103-1360
 Paydayz Staffing                                                Trade account                                                                                          $138,727.00
 Solutions Inc
 10740 Lyndale Ave.
 South, #16E
 Bloomington, MN
 55420
 Ratcliff Ranch                                                  Unreimbursed           Contingent                                                                      $372,410.00
 24631 South                                                     Expenses &             Unliquidated
 Highway 2                                                       Interest (GL 2740)     Disputed
 Vinita, OK 74301
 Ratcliff Ranch                                                  Unsecured              Contingent                                                                    $2,250,000.00
 24631 South                                                     Promissory Note,       Unliquidated
 Highway 2                                                       dated 12/03/2010       Disputed
 Vinita, OK 74301
 SSJR, LLC                                                       Accrued Interest                                                                                       $190,000.00
 1306 West Taylor                                                (GL 2475)
 Cloquet, MN 55720




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Rancher's Legacy Meat Co.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Upper Iowa Beef,                                                Trade account                                                                                          $394,642.00
 LLC
 4614 Highway 63
 Lime Springs, IA
 52155
 UW Provision Co.                                                Trade account                                                                                            $68,402.00
 PO Box 620038
 2315 Pleasant View
 Road
 Middleton, WI
 53562-0038
 Veritiv Corporation                                             Trade account                                                                                            $66,851.79
 Veritiv Operating
 Company
 7472 Collection
 Center Drive
 Chicago, IL 60693




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                   Case 19-32928                            Doc 1               Filed 09/20/19 Entered 09/20/19 09:09:59                                                           Desc Main
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 Fill in this information to identify the case:

 Debtor name            Rancher's Legacy Meat Co.

 United States Bankruptcy Court for the:                       DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       13,291,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       13,291,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       20,579,557.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        6,318,399.71


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         26,897,956.71




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Rancher's Legacy Meat Co.

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                             12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                              debtor's interest

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Deposits and prepayments                                                                                             $160,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                          $160,000.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         1,410,000.00    -                                0.00 = ....              $1,410,000.00
                                              face amount                        doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 1
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 Debtor         Rancher's Legacy Meat Co.                                                        Case number (If known)
                Name


 12.       Total of Part 3.                                                                                                          $1,410,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used     Current value of
                                                      physical inventory         debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Meat products                                                                $2,614,000.00   Recent cost                      $2,614,000.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                          $2,614,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used     Current value of
                                                                                 debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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                Name



 39.       Office furniture
           Office furniture                                                                 $0.00    Comparable sale                    $198,000.00



 40.       Office fixtures
           Office Fixtures - land and building
           improvements -                                                                   $0.00    Comparable sale                  $1,567,000.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           IT equipment and software                                                        $0.00    Comparable sale                    $620,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                          $2,385,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used     Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Production equipment                                                             $0.00    Comparable sale                  $6,722,000.00



 51.       Total of Part 8.                                                                                                       $6,722,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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                Name



 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used     Current value of
            property                                      extent of           debtor's interest        for current value         debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Lease interest in the
                     debtor's building
                     4301 White Bear
                     Parkway, Vadnais
                     Heights, MN 55110                    Leaseholder                  Unknown                                                Unknown




 56.        Total of Part 9.                                                                                                                     $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used      Current value of
                                                                              debtor's interest        for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademarks, trade secrets                                                       $0.00                                             Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 4
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                Name

            Customer lists and other proprietary
            information                                                                     $0.00                                       Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $160,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,410,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $2,614,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $2,385,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $6,722,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $13,291,000.00             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $13,291,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 6
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 Fill in this information to identify the case:

 Debtor name         Rancher's Legacy Meat Co.

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   James A. Ratcliff                              Describe debtor's property that is subject to a lien             $17,000,000.00              $5,000,000.00
       Creditor's Name                                All of Company's assets, including, but not
       Ratcliff Ranch                                 limited to, equipment, tools, inventory,
       24631 South Highway 2                          accounts receivable, and other intangibles.
       Vinita, OK 74301
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/3/2010                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.2   Nissan Motor Acc. Corp.                        Describe debtor's property that is subject to a lien                     Unknown                  Unknown
       Creditor's Name                                Vehicle Lease - also on Leases schedule



       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       8/18/2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0555
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       Rancher's Legacy Meat Co.                                                                Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    Ocshner Partnership                           Describe debtor's property that is subject to a lien                     $677,640.00               Unknown
        Creditor's Name                               Promissory Note & Security Agreement,
        Attn: Todd Ocshner                            dated 9/6/18
        13350 - 379th Avenue
        Aberdeen, SD 57401
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        9/6/2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.4    Upper Lakes Foods                             Describe debtor's property that is subject to a lien                 $2,901,917.00              $5,000,000.00
        Creditor's Name                               All assets of the debtor
        801 Industry Ave.
        Cloquet, MN 55720
        Creditor's mailing address                    Describe the lien
                                                      UCC lien
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        9/30/2016                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $20,579,557.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 3
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 Debtor       Rancher's Legacy Meat Co.                                                  Case number (if know)
              Name

        Name and address                                                                        On which line in Part 1 did       Last 4 digits of
                                                                                                you enter the related creditor?   account number for
                                                                                                                                  this entity
        Professional Driven Solutions
        120 S. Wilson, Suite A                                                                  Line   2.1
        Attn: Debi S. Hood, CEO
        Vinita, OK 74301




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Rancher's Legacy Meat Co.

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $40,000.00
           44 Farms Angus Steaks                                                Contingent
           101 N Houston Ave.                                                   Unliquidated
           Cameron, TX 76520                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade account
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $9,503.67
           AmeriPride Services, Inc.                                            Contingent
           PO Box 518                                                           Unliquidated
           Bemidji, MN 56619-0518                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $98,940.00
           ASC Meyners Inc                                                      Contingent
           5140 Palm Valley Road                                                Unliquidated
           Ponte Vedra Beach, FL 32082                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $1,636.74
           Award Staffing                                                       Contingent
           PO Box 160                                                           Unliquidated
           Minneapolis, MN 55434-0160                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 9
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              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $207,524.00
          Ben E. Keith - General Office                                         Contingent
          7600 Will Rogers Blvd.                                                Unliquidated
          Fort Worth, TX 76140                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing Allowances
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,980.61
          C. H. Robinson Worldwide,Inc.                                         Contingent
          PO Box 9121                                                           Unliquidated
          Minneapolis, MN 55480-9121                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $125.00
          City of Vadnais Heights                                               Contingent
          800 East County Road E                                                Unliquidated
          Vadnais Heights, MN 55127                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Water bill
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,622.50
          Cloverdale Foods Company                                              Contingent
          PO Box 75072                                                          Unliquidated
          Chicago, IL 60675-5072                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $253.10
          Comcast - Xfinity                                                     Contingent
          PO Box 34227                                                          Unliquidated
          Seattle, WA 98124-1227                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $43,258.12
          Compart Family Farms, Inc.                                            Contingent
          45198 400th Street                                                    Unliquidated
          Nicollet, MN 56074                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,225.00
          Connexus Energy                                                       Contingent
          PO Box 1808                                                           Unliquidated
          Minneapolis, MN 55480-1808                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 9
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              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $24,316.27
          Creekstone Farms & Premium Bee                                        Contingent
          604 Goff Industrial Park                                              Unliquidated
          Arkansas City, KS 67005                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Dalco Enterprises. Inc.                                               Contingent
          PO Box 64777                                                          Unliquidated
          Saint Paul, MN 55164-0777                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,193.16
          DTS Inc.                                                              Contingent
          9401 James Avenue S.                                                  Unliquidated
          Suite 120                                                             Disputed
          Bloomington, MN 55431
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $409.56
          Ecolab Pest Elim. Div.                                                Contingent
          26252 Network Place                                                   Unliquidated
          Chicago, IL 60673-1262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $55,393.96
          Empirical Foods, Inc.                                                 Contingent
          dba NVM Distribution LLC NV                                           Unliquidated
          891 Two Rivers Drive                                                  Disputed
          Dakota Dunes, SD 57049
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $38,308.00
          Fidelity Bank Cardmember Servi                                        Contingent
          PO Box 790408                                                         Unliquidated
          Saint Louis, MO 63179-0408                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Company Credit Card Charges
          Last 4 digits of account number       6333
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $565.00
          Foodservice News                                                      Contingent
          2808 Anthony Lane South                                               Unliquidated
          Minneapolis, MN 55418                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 9
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              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $478,788.00
          Great Plains Beef LLC                                                 Contingent
          PO Box 82545                                                          Unliquidated
          Lincoln, NE 68501                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40,051.47
          Green Bay Packaging, Inc.                                             Contingent
          Bin No. 53139                                                         Unliquidated
          Milwaukee, WI 53288                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $37.57
          Innovative Office Solutions                                           Contingent
          PO Box 860627                                                         Unliquidated
          Minneapolis, MN 55486-0627                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,920.00
          Ivy Farms Inc.                                                        Contingent
          PO Box 6                                                              Unliquidated
          Rush City, MN 55069                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,046.42
          J&B Group                                                             Contingent
          PO Box 860408                                                         Unliquidated
          Minneapolis, MN 55486-0408                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $53,189.00
          J&B Partners Inc.                                                     Contingent
          PO Box 212                                                            Unliquidated
          13200 43rd St NE                                                      Disputed
          Saint Michael, MN 55376
                                                                             Basis for the claim:    Trade account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $655,000.00
          James A. Ratcliff                                                     Contingent
          Ratcliff Ranch
                                                                                Unliquidated
          24631 South Highway 2
          Vinita, OK 74301                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Advances made between 12/12/2011 & 02/09/2012
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 9
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 Debtor       Rancher's Legacy Meat Co.                                                               Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $418,728.00
          James A. Ratcliff                                                     Contingent
          Ratcliff Ranch
                                                                                Unliquidated
          24631 South Highway 2
          Vinita, OK 74301                                                      Disputed

          Date(s) debt was incurred 08/10/2011                               Basis for the claim:    Unsecured Advance - 08/10/2011 (GL 2740)
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $215,000.00
          James A. Ratcliff                                                     Contingent
          Ratcliff Ranch
                                                                                Unliquidated
          24631 South Highway 2
          Vinita, OK 74301                                                      Disputed

          Date(s) debt was incurred                                                         Unsecured Advances - 11/16/2011, 12/01/2011 &
                                                                             Basis for the claim:
          Last 4 digits of account number                                    03/19/2012) (GL 2450)
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $46,087.69
          Lower Foods                                                           Contingent
          Double L Meats                                                        Unliquidated
          Richmond, UT 84333                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $18,444.99
          Midwest Refrigerated Transport                                        Contingent
          PO Box 770                                                            Unliquidated
          Elkhorn, WI 53121                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $276.24
          Mytech Partners, Inc                                                  Contingent
          300 2nd St NW                                                         Unliquidated
          New Brighton, MN 55112                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $129,231.71
          New Angus, LLC - DemKota                                              Contingent
          PO Box 30260                                                          Unliquidated
          Omaha, NE 68103-1360                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $437.15
          Nextera Communications                                                Contingent
          PO Box 2945                                                           Unliquidated
          Baxter, MN 56425-9998                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Rancher's Legacy Meat Co.                                                               Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $138,727.00
          Paydayz Staffing Solutions Inc                                        Contingent
          10740 Lyndale Ave. South, #16E                                        Unliquidated
          Bloomington, MN 55420                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,304.16
          Pioneer Meats, LLC                                                    Contingent
          915 E. Maple Road                                                     Unliquidated
          Birmingham, MI 48009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $289.18
          Pohl Food Service                                                     Contingent
          510 Kasota Avenue                                                     Unliquidated
          Minneapolis, MN 55414                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,979.38
          Pro Cleaning Brother's Service                                        Contingent
          5441 N 4th Street                                                     Unliquidated
          Brooklyn Center, MN 55430                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $19,936.32
          Provisur Technologies                                                 Contingent
          24558 Network Place                                                   Unliquidated
          Chicago, IL 60673-1245                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,161.76
          Quality Forklift Sales & Svc                                          Contingent
          587 Citation Drive                                                    Unliquidated
          Shakopee, MN 55379                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,250,000.00
          Ratcliff Ranch                                                        Contingent
          24631 South Highway 2
                                                                                Unliquidated
          Vinita, OK 74301
                                                                                Disputed
          Date(s) debt was incurred 12/03/2010
          Last 4 digits of account number                                    Basis for the claim:    Unsecured Promissory Note, dated 12/03/2010
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 9
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 Debtor       Rancher's Legacy Meat Co.                                                               Case number (if known)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $372,410.00
          Ratcliff Ranch                                                        Contingent
          24631 South Highway 2
                                                                                Unliquidated
          Vinita, OK 74301
                                                                                Disputed
          Date(s) debt was incurred 04/08/2012
          Last 4 digits of account number                                    Basis for the claim:    Unreimbursed Expenses & Interest (GL 2740)
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $27,000.00
          Refrigerated Transport, Inc.                                          Contingent
          PO Box 6008                                                           Unliquidated
          Arlington, TX 76005-6008                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $27,082.89
          Refrigerated Transport, Inc.                                          Contingent
          PO Box 6008                                                           Unliquidated
          Arlington, TX 76005-6008                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,540.29
          Rome LTD                                                              Contingent
          PO Box 186                                                            Unliquidated
          Sheldon, IA 51201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,271.24
          Royal Foods, Inc.                                                     Contingent
          PO Box 270165                                                         Unliquidated
          Golden Valley, MN 55427-6165                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $190,000.00
          SSJR, LLC                                                             Contingent
          1306 West Taylor                                                      Unliquidated
          Cloquet, MN 55720                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accrued Interest (GL 2475)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $29,645.00
          Sysco New Mexico, LLC                                                 Contingent
          601 Comanche North East                                               Unliquidated
          Albuquerque, NM 87125
                                                                                Disputed
          Date(s) debt was incurred
                                                                                            Disputed product claim - Customer claimed metal
                                                                             Basis for the claim:
          Last 4 digits of account number                                    found in ground beef
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 7 of 9
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              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,155.87
          Team Personnel Service, Inc.                                          Contingent
          259 University Ave West                                               Unliquidated
          Saint Paul, MN 55103                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,000.00
          Thousand Hills                                                        Contingent
          12925 Prosperity Avenue                                               Unliquidated
          Becker, MN 55308                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $300.00
          Trademark Transportation, Inc.                                        Contingent
          PO Box 64963                                                          Unliquidated
          Saint Paul, MN 55164-0963                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,234.62
          ULine                                                                 Contingent
          PO Box 88741                                                          Unliquidated
          Chicago, IL 60680-1741                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,150.00
          UMC Equipment, LLC                                                    Contingent
          827 Highlander Trail                                                  Unliquidated
          Hudson, WI 54016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Company owned by A. Lomen
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,123.79
          United Staffing Group, LLC                                            Contingent
          5501 Lakeland Avenue                                                  Unliquidated
          Crystal, MN 55429                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $394,642.00
          Upper Iowa Beef, LLC                                                  Contingent
          4614 Highway 63                                                       Unliquidated
          Lime Springs, IA 52155                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 8 of 9
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              Name

 3.54      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $68,402.00
           UW Provision Co.                                                     Contingent
           PO Box 620038                                                        Unliquidated
           2315 Pleasant View Road                                              Disputed
           Middleton, WI 53562-0038
                                                                             Basis for the claim:    Trade account
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.55      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $66,851.79
           Veritiv Corporation                                                  Contingent
           Veritiv Operating Company                                            Unliquidated
           7472 Collection Center Drive                                         Disputed
           Chicago, IL 60693
                                                                             Basis for the claim:    Trade account
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.56      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,000.00
           White Bear Township                                                  Contingent
           1281 Hammond Rd.                                                     Unliquidated
           White Bear Township, MN 55110                                        Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Water bill
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.57      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $251.60
           Winnesota Regional Trans. Inc.                                       Contingent
           10100 Crosstown Circle                                               Unliquidated
           Eden Prairie, MN 55344                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.58      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $447.89
           Xcel Energy                                                          Contingent
           PO Box 9477                                                          Unliquidated
           Minneapolis, MN 55484-9477                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                    6,318,399.71

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        6,318,399.71




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 Fill in this information to identify the case:

 Debtor name         Rancher's Legacy Meat Co.

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Supplier 3 years,
             lease is for and the nature of               9/1/2019
             the debtor's interest

                  State the term remaining
                                                                                        Checkers - Rally's
             List the contract number of any                                            4300 WEST CYPRESS STREET, Ste.
                   government contract                                                  Tampa, FL 33607


 2.2.        State what the contract or                   60 month term -
             lease is for and the nature of               additional cost based
             the debtor's interest                        on copies made on an
                                                          Office Copier - Sharp
                                                          Model MX-3070N
                  State the term remaining                until July 2022

             List the contract number of any                                            Definitive Technology Solution
                   government contract


 2.3.        State what the contract or                   Office and production
             lease is for and the nature of               building - monthly
             the debtor's interest                        lease payment: $12,716
                                                          Currently in First
                                                          Renewal Term (which
                                                          ends on 06/21/2022) -
                                                          Includes two (2)
                                                          additional Renewal
                                                          Terms of 5-years each

                                                          Triple Net Lease - Real
                                                          Estate Taxes (not
                                                          escrowed); insurance
                                                          (not escrowed);
                                                          maintenance
                  State the term remaining                06/21/2022
                                                                                        James L. Ratcliff as trustee
             List the contract number of any                                            4301 White Bear Parkway
                   government contract                                                  Vadnais Heights, MN 55110



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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 Debtor 1 Rancher's Legacy Meat Co.                                                            Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.4.        State what the contract or                   Unicarriers TX35 3W
             lease is for and the nature of               Forklift
             the debtor's interest                        SS: A1N1-723601
                                                          36 month lease with $1
                                                          buyout
                  State the term remaining

             List the contract number of any                                           Nissan Motor Acceptance Corp
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 4
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 Debtor 1 Rancher's Legacy Meat Co.                                                             Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   1 - Hobart 4353 Meat          UMC Equipment LLC
             lease is for and the nature of               Grinder/Mixer
             the debtor's interest
                                                          18 - Heavy Duty 600#
                                                          capacity dump buggies

                                                          1- A20 Sealer 3M
                                                          3M-Matic Machine Tape
                                                             Machine with
                                                          accessories

                                                          1 - Leibinger Jet 3
                                                          Printer - SSN:
                                                          LJ-3041134

                                                          1 - AEW Delford 400
                                                          Meat Cutting Bandsaw
                                                          SSN: LHS 350997

                                                          1 - AEW Delford 400L
                                                          Meat Cutting Bandsaw
                                                          SSN: 1335224

                                                          1 - Starflex Bagging
                                                          System
                                                          Model: SFS-10ADH;
                                                          SSN 636001

                                                          1 - Crown End Control
                                                          Forklift
                                                          Model: RC5535-35;
                                                          SSN: 1A342393

                                                          1 - Barrett Pallet Jack
                                                          Model: RPX60B; SSN:
                                                          2W26-9308803

                                                          1 - Hobart Meat Slicer
                                                          Model: 2812; SSN:
                                                          56-1302-053

                                                          1 - BIRO 350A
                                                          Auto/Manual Slicer;
                                                          SSN: 10749

                                                          1 - Meddler-Toledo,
                                                          LLC Counter Scale
                                                          SSN: B734549330

                                                          12 - Heavy Duty 600#
                                                          capacity dump buggies
                                                          1 - 20 foot Ocean Cargo
                                                          Container

                                                          10 - Heavy Duty 440#
                                                          capacity dump buggies

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 3 of 4
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 Debtor 1 Rancher's Legacy Meat Co.                                                          Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                                                          1 - Used Crown End
                                                          Control Lift
                                                          Model RC5530-30; SSN:
                                                          1A405457
                  State the term remaining

             List the contract number of any
                   government contract


 2.6.        State what the contract or                   Co-op Membership
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Unipro Food Service
             List the contract number of any                                         2500 Cumberland Pkwy SE # 600
                   government contract                                               Atlanta, GA 30339




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Rancher's Legacy Meat Co.

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Rancher's Legacy Meat Co.

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                    Gross revenue
       which may be a calendar year                                                            Check all that apply                  (before deductions and
                                                                                                                                     exclusions)

       For the fiscal year:                                                                        Operating a business                       $2,400,000.00
       From 5/01/2020 to Filing Date
                                                                                                   Other


       From the beginning of the fiscal year to filing date:                                       Operating a business                     $28,000,000.00
       From 5/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                     $27,000,000.00
       From 5/01/2018 to 4/30/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                     $22,000,000.00
       From 4/01/2017 to 3/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue     Gross revenue from
                                                                                                                                     each source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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          None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               SEE ATTACHED EXHIBIT A                                      SEE                                     $0.00         Secured debt
                                                                           ATTACHED
                                                                                                                                 Unsecured loan repayments
                                                                           EXHIBIT A.
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Deed Danielson                                              2018-2019                        $13,753.33         Employee Expense
               1512 Stepple Drive                                                                                              Reimbursements
               Hammond, WI 54015

       4.2.    John Elwell                                                 2018-2019                        $37,319.38         Employee Expense
               7830 209th Street                                                                                               Reimbursements
               Forest Lake, MN 55025

       4.3.    John Hancock Insurance Company                              2018-2019                          $7,826.00        Annual Premium for Arlyn
                                                                                                                               Lomen Life Insurance Policy -
                                                                                                                               Company is beneficiary of 50%
                                                                                                                               of Insurance Proceeds
                                                                                                                               Payment was sent to the KNW
                                                                                                                               Group who worked with JH to
                                                                                                                               secure policy

       4.4.    Arlyn Lomen                                                 2018-2019                          $6,845.97        Employee Expense
               827 Highlander Trail                                                                                            Reimbursements
               Hudson, WI 54016
               President

       4.5.    Andrew Lomen                                                2018-2019                          $9,783.79        Employee Expense
               763 Armstrong Ave.                                                                                              Reimbursements and Lawn
               Saint Paul, MN 55102                                                                                            Mowing Service Fees

       4.6.    Suzy Neuman-Full                                            2018-2019                          $8,214.34        Employee Expenses
               6716 263rd Street                                                                                               Reimbursements - $1,314.34;
               Wyoming, MN 55092                                                                                               purchase of gift cards for
                                                                                                                               workers - $5,450.00;
                                                                                                                               replensihment of petty cash
                                                                                                                               fund - $1,450.00

       4.7.    UMC Equipment, LLC                                          2018-2019                        $17,430.00         Payments for Production
               827 Highlander Trail                                                                                            Equipment Under Lease
               Hudson, WI 54016

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.


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           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Ratcliff v. Rancher's Legacy                     Civil action               Minnesota District Court                      Pending
               Meat Co. et al.                                                             300 South 4th Str                             On appeal
               0:19-cv-00512-DWF-TNL                                                       Minneapolis, MN
                                                                                                                                         Concluded
                                                                                           55487-6000


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value

       9.1.    American Culinary                                Sponsorships for2018 Annual Awards
               Federation Mpls                                  Banquet, Annual Chef of the Year Award,
               PO Box 28891                                     and 2018 Farmer's Market Cooking
               Crystal, MN 55428-3271                           Competition                                              2017-2018                          $3,075.00

               Recipients relationship to debtor



       9.2.    Jim Buron Productions, Inc.                      Sponsorship of 2018 Twin Cities Burger
               19 Penniman Ter                                  Battle
               Braintree, MA 02184                                                                                       2017-2018                          $3,000.00

               Recipients relationship to debtor




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               Recipient's name and address                     Description of the gifts or contributions                Dates given                     Value

       9.3.    The CHARLIES                                     Sponsorship of The Charlies - 2018 (the
               2808 Anthony Lane                                Oscars of the Chef World)
               Minneapolis, MN 55418                                                                                     2017-2018                 $2,350.00

               Recipients relationship to debtor



       9.4.    MG Charities                                     Sponsorship of Givens Golf Tournament
               434 Hale Ave N.                                  raising funds for findiong a cure for brain
               Oakdale, MN 55128                                cancer                                                   2017-2018                 $8,000.00

               Recipients relationship to debtor



       9.5.    Mille Lacs Corporate                             Sponsorship of the 2018 Leadership
               Ventures                                         Conference held at Grand Casino
               700 Grand Ave                                    Hinckley
               Onamia, MN 56359                                                                                          2017-2018                 $6,250.00

               Recipients relationship to debtor



       9.6.    The O'Leary Foundation                           Donation to the O'Leary Foundation
               520 Jacker Ave
               Houghton, MI 49931                                                                                        2017-2018                 $1,000.00

               Recipients relationship to debtor



       9.7.    St. Croix Casino Turtle Lake                     Golf and Dinner Sponsorship of the St.
               -ADA                                             Croix Casino Golf Event
               777 US Hwy 8 & 63
               Turtle Lake, WI 54889                                                                                     2017-2018                 $2,700.00

               Recipients relationship to debtor



       9.8.    American Culinary                                Sponsorships for 2019 Annual Awards
               Federation/Mpls                                  Banquet and 2019 Annual Chef of the
               PO Box 28891                                     Year Award
               Crystal, MN 55428-3271                                                                                    2018-2019                 $2,175.00

               Recipients relationship to debtor
               `


       9.9.    The CHARLIES                                     Sponsorship of The Charlies - 2019 (the
               2808 Anthony Lane South                          Oscars of the Chef World)
               Minneapolis, MN 55418                                                                                     2018-2019                 $1,500.00

               Recipients relationship to debtor




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               Recipient's name and address                     Description of the gifts or contributions                  Dates given                       Value

       9.10 Hospitality Minnesota                               Contribution to the Hospitality MN
       .    305 Roselawn Avenue                                 Education Fund - Leader's Fund for
               Saint Paul, MN 55117                             education of young chefs                                   2018-2019                   $2,500.00

               Recipients relationship to debtor



       9.11 Mille Lacs Corporate                                Sponsorship of the 2019 Leadership
       .    Ventures                                            Conference held at Grand Casino
               700 Grand Avenue                                 Hinckley
               Onamia, MN 56359                                                                                            2018-2019                   $7,500.00

               Recipients relationship to debtor



       9.12 Mounds View - Irondale Youth                        Sponsorship of Mounds View/Irondale
       .    Hockey                                              Youth Hockey Team
               855 Village Center Drive #316
               North Oaks, MN 55127                                                                                        2018-2019                   $1,000.00

               Recipients relationship to debtor



       9.13 St. Croix Casino Turtle Lake                        Golf Sponsorship of the St. Croix Casino
       .    -ADA                                                Golf Event
               777 US Hwy 8 & 63
               Turtle Lake, WI 54889                                                                                       2018-2019                   $2,000.00

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                 lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address




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                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.                                                                                                                   INV paid
                Briggs & Morgan                                                                                                10/5/18 -
                80 South Eighth Street                                                                                         $4,076.00
                2200 IDS Center                                                                                                (INV dated
                Minneapolis, MN 55402                                                                                          08/22/18)              $4,076.00

                Email or website address


                Who made the payment, if not debtor?




       11.2.                                                                                                                   INV paid
                Briggs & Morgan                                                                                                01/07/19 -
                80 South 8th Street                                                                                            $3,601.00
                2200 IDS Center                                                                                                (INV dated
                Minneapolis, MN 55402                                                                                          11/16/18)              $3,601.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
               Address                                          payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

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            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
       Trademark Transportation                                      Arlyn J. Lomen, President            Cold Storage Facility. Offsite            No
       5322 Main St NE                                               Jeremy Turnquist, Vice               storage of excess inventory               Yes
       Fridley, MN 55421                                             President-Operations



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own


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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To



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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Ehrhardt & Co., PLLC                                                                                                 Since inception
                    PO Box 745
                    Langley, OK 74350-0745

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Ehrhardt & Co., PLLC
                    PO Box 745
                    Langley, OK 74350-0745
       26c.2.       Rancher's Legacy Meat Co.
                    4301 White Bear Parkway
                    Saint Paul, MN 55110

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Arlyn Lomen                                    4301 White Bear Parkway                             President                             None
                                                      Vadnais Heights, MN 55110

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jeremy Turnquist                               4301 White Bear Parkway                             Vice President - Operations
                                                      Vadnais Heights, MN 55110

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       SSJR, LLC                                      1306 West Taylor                                    Primary shareholders                  100%
                                                      Cloquet, MN 55720




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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Sue Ryan                                                                                           Member of Board of Directors


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jim Bradshaw                                                                                       Member of Board of Directors


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Bob Magie                                                                                          Member of Board of Directors




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Arlyn Lomen                                         $175,000 - yearly salary; misc, expense
       .                                                        reimbursements; car allowance                            2018-2019

               Relationship to debtor
               President


       30.2 Jeremy Turnquist                                    $175,000 - yearly salary; misc expense
       .                                                        reimbursements; car allowance                            2018-2019

               Relationship to debtor
               VP of Oerations


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                 Case 19-32928                    Doc 1          Filed 09/20/19 Entered 09/20/19 09:09:59                        Desc Main
                                                                  Document     Page 44 of 89
 Debtor      Rancher's Legacy Meat Co.                                                                  Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 20, 2019

 /s/ Arlyn J. Lomen                                                     Arlyn J. Lomen
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                                                                             EXHIBIT A TO STATEMENT OF FINANCIAL AFFAIRS, QUESTION 3
                                         Case 19-32928                      Doc  1 Filed 09/20/19 Entered 09/20/19 09:09:59 Desc Main
                                                                                       Document      Page 45 of 89
No.          Name
AMR001       AmeriPride Services, Inc.
Payment                               257b0                        525.17                  07/15/19              rug and laundry services
Payment                               25700                        551.62                  07/15/19
Payment                               25700                        391.56                  07/15/19
Payment                               25700                        647.29                  07/15/19
Payment                               25700                        525.17                  07/15/19
Payment                               25700                        530.85                  07/15/19
Payment                               25700                        62.17                   07/15/19
Payment                               25789                        480.68                  07/25/19
Payment                               25789                        527.17                  07/25/19
Payment                               25789                        525.43                  07/25/19
Payment                               25789                        457.98                  07/25/19
Payment                               25954                        662.78                  08/27/19
Payment                               25954                        654.57                  08127/19
Payment                               25954                        551.55                  08/27/19
Payment                               25954                        647.29                  08/27/19
Payment                               25954                        553.26                  08/27/19
Payment                               25954                        551.26                  08/27/19
Payment                               25954                        778.92                  08/27/19
Payment                               25954                        546.64                  08/27/19
                                      Total:                       10,171.36
AMT001       Am Trust North America
Payment             26059                      6,606.00             09/10/19                                     Additional W/C payment for insurance vear ended 6/22/1
Total:
6,606.00

ASCOOT       ASC Meyners Inc
Payment             26056                      100,164.00           09/09/19                                     import meat purchases
Total:
100,164.00

AWA0OT       Award Staffing

Payment                                                   25612                1,223 01               06/28/19   supplies temporary production workers
Payment                                                   25701                906.50                 07/15/19
Payment                                                   25701                1,062.30               07/15/19
Payment                                                   25769                672.22                 07/24/19
Payment                                                   25769                1,227.04               07/24/19
Payment                                                   25831                952.01                 08/05/19
Payment                                                   25831                561.24                 08/05/19
Payment                                                   25955                543.30                 08/27/19
Payment                                                   25955                658.52                 08/27/19
Payment                                                   25955                786.98                 08/27/19
Payment                                                   26030                647.51                 09/06/19
Payment                                                   26 109               623.78                 09/13/19
Payment                                                   26109                900.17                 09/13/19
                                                          Total:               10,764.58
BEA0O 1      Bearings & PT Compenents
                                        Case 19-32928                Doc 1   Filed 09/20/19 Entered 09/20/19 09:09:59                Desc Main
                                                                              Document     Page 46 of 89
Payment             26090                     307.86         09/11/19                         equipment parts and repairs
Total:
BEE0O 1     empirical foods, Inc. (Beef Ploducts, Inc.)
307.86
                                                                                              purchases of LFTB-type ingredients for grinding
Payment                              255. 1                 14,010.43           06/24119
Payment                              255B1                  42,864.00           06/24119
Payment                              25638                  21,600.00           07/0 1/19
Payment                              25638                  33,216.00           07/01/19
Payment                              25693                  49,248.00           07/11119
Payment                              25816                  48,006.00           07/29/19
Payment                              25816                  40,368.00           07/29/19
Payment                              25817                  48,006.00           07/29/19
Payment                              25858                  40,368.00           08/06/19
Payment                              25881                  21,600.00           08/13/19
Payment                              25881                  32,832.00           08/13/19
Payment                              25991                  27,783.00           08/28/19
Payment                              25991                  23,760.00           08/28/19
Payment                              26024                  32,898.00           09/06/19
Payment                              26024                  13,788.37           09/06/19
                                     Total:                490,347.80
BEK002      BEK - Albuquerque
Payment                              25702                 2,068.13            07/15/19       marketing funds
Payment                              25702                 16.80              07/15/19
Payment                              25939                 2,029.88           08/22119
Payment                              25939                 20.80              08/22/19
Payment                              26031                 73.60              09/06/19
Payment                              26031                 2,445.23           09/06/19
                                                           6,654.44
BEK003
Payment
Payment
Payment
            BEK - Amarillo
                    25741
                    25741
                    25956
                                     'T       32.80
                                              2,854.86
                                              2,347.35
                                                             07/19/19
                                                             07/19/19
                                                             08/27/19
                                                                                              marketing funds


Payment             25956                     40.94          08/27/19
Payment             26032                     2,067.00       09/06/19
Total:
7,342.95
BEK005      BEK - Houston
Payment            25694                      168.52         07112/19                         marketing funds
Payment             25694                     10,837.39      07/12/19
Payment             26006                     9,241.55       09/04/19
Payment             26006                     38.40          09/04/19
Total:
20,285.86
BEKOO6      BEK - Little Rock
Payment                                                   2,551.80            06/28/19        marketing funds


                                     =
Payment                              257 0                2,359.20            07/24/19
Payment                             259 3                 2,282.72            08130/19
                                     Case 19-32928                        Doc 1             Filed 09/20/19 Entered 09/20/19 09:09:59                           Desc Main
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Total:
7,193.72
BEK007      BEK - Oklahoma
Payment            25584                   10,840.40                 06/24/19                                      marketing funds
Payment            25584                   235.20                    06/24/19
Payment            25891                   12,659.72                 08/16/19
Payment            25891                   358.40                    08/16/19
Payment            26 125                  12,639.89                 09/13/19
Payment            26125                   504.57                    09/13/19
Total:
37,238.18
BEK009      BEK - Alabama
Payment            25585                   2,855.33                  06/24/19                                      marketing funds
Payment            25771                   2,530.31                  07/24119
Payment            25923                   3,416.25                  08/19/19
Payment            26060                   4,711.70                  09/10/19
Total:
13,513.59
BIG001      Big Steer Meats
Payment            25861                   1,430.39                  08/09/19                                      purchases of further processed meat products (sausages)
Payment            26061                   111.60                    09/10/19
Payment            26061                   450.00                    09/10/19
Total:
1,991.99
BLD001      Blendtech                                                                                              spices
            Payment                                 25592                       1,732.89                06/27/19
            Payment                                 25653                       3,976.05                07/08/19
            Payment                                 25653                       7,772.49                07/08/19
            Payment                                 25796                       350.00                  07/29/19
            Payment                                 25796                       2,202.47                07/29/19
            Payment                                 25796                       1,571.27                07/29/19
            Payment                                 25932                       8,530.08                08/21/19
            Payment                                 25957                       4,784.54                08/27/19
            Payment                                 26062                       7,429.35                09/10/19
            Payment                                 26062                       452.94                  09/10/19
                                                            Total:              38,802.08
BLU001      Blue Grace Logistics
Payment                            25574                       3,395.00                      06/21/19              logistic services - delivery to customers
Payment                            25593                       3,210.00                      06/27/19
Payment                            25654                       3,210.00                      07/08/19

No.         Name
Total:
32,575.00
BPPOO 1     Beeler's Pure Pork
Payment                            25833                         158.10                      08/05/19              purchases of raw pork ingredients
                                      ;
Payment                            25833                         1,148.40                    08/05/19
Payment                            25833                         317.26                      08/05/19
Payment                            25933                         592.82                      08/21/19
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Payment


CAR003
Payment
           Cargill, Inc. (Ingredients)
                    25704
                                         ,~ I
                                     26064



                                                2,727.96
                                                           500.00
                                                           2,716.58


                                                            07/15/19
                                                                             09/10/19


                                                                                             purchases of ingredients

Total:
2,727.96
CCC001
Payment
Total:
CCM001     Corporate Courier, MN LLC
                                           j
           Creative Concrete Coatings, 'Inc.

                   '"°'                         ,,oo.oo     06/27/19                         repair of production floor


7,400.00
Payment                              257 2                 315.00            07/24/19        intra-metro delivery services to customers
Payment                              25772                 270.00            07/24/19
Payment                              25958                 225.00            08/27/19
Payment                              25958                 180.00            08/27/19
Payment                              25958                 180.00            08/27/19
Payment                              25958                 180.00            08/27/19
Payment                              25958                 390.00            08/27/19
Payment                              26065                 135.00            09/10/19
Payment                              26065                 135.00            09/10/19
                                                           2,010.00
CCPOO1
Payment
Payment
Total:
           Central Coated Products, In
                   25655
                   26033                 '"l'   1,184.77
                                                1,403.42
                                                            07/08/19
                                                            09/06/19
                                                                                             rolled patty paper used in packaging products


2,588.19
CCSoo1     Cloverleaf Cold Storage Lakrille Facilit                                          use of cold storage for temporary storage of frozen product
Payment            25595                 165.00             06/27/19
Payment            25749                7.50                07/22/19
Total:
CFFOO1     Compart Family Farms, Inc.
172.50

Payment                              25922                 9,359.85           08/19/19
Payment                              25922                 10,565.83          08/19/19
Payment                              25959                 10,317.28          08/27/19
Payment                              26007                 16,525.95          09/04/19
Payment                              26034                 24,696.16          09/06/19
Payment                              26111                 9,692.64           09/13/19
                                     Total:                160,955.18
CHEOO 1
Payment
           Checkera Da,o,o Res<a"'t
                   25960
                                                '°'
                                                2,500 00    08/27/19                         Fee for 2019 Checker's Annual Convention
Total:
CHR001     C H Robinson Worldwide,lnc
2,500.00
Payment                              25575                 2,997.23           06/21/19       logistic services - delivery to customers
Payment                              25575                 3,197.23           06/21/19
Payment                              256 1,5               3,247.23           06/28/19
Payment
Payment
Payment
Payment
                                      J  Case 19-32928


                                      25706
                                      25751
                                      25799
                                                           3,147.23
                                                           3,197.23
                                                           3,147.23
                                                           3,072.23
                                                                    Doc 1   Filed 09/20/19 Entered 09/20/19 09:09:59
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                                                                              07/08/19
                                                                              07/15/19
                                                                              07/22/19
                                                                              07/29/19
                                                                                          Page 49 of 89
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Payment                               25834                2,997.23           08/05/19
Payment                               25834                2,997.23           08/05/19
Payment                               25892                2,997.23           08/16/19
Payment                               25961                2,997.23           08/27/19
Payment                               26022                2,997.23           09/04/19
                                      Total:               36,991.76
CLO0O1      Cloverdale Foods Company
Payment            25978                  I    3,225.75     08/28/19                         purchases of further processed pork products for Grand Casino Customer Promotion Program
Payment            26128                       12,622.50    09/16/19
Total:
15,848.25
COCoo1      Great Lakes Coca-Cola Distrib.
Payment            25835                  /    243.50       08/05/19                         Company subsidy of Employee lunchroom soda/candy purchases
Payment            25917                       201.00       08/19/19
Payment            26035                       205.00       09/06/19
Total:
649.50
COI001      Definitive Technology Solutiors, Inc. (DT                                        copier machine rental
Payment            25738                       959.72       07/18/19
Payment            25913                       987.55       08/16/19
Total:
1,947.27
COM001      Comcast
Payment            25737                       243.10       07/18/19                         internet services
Payment            25910                       243.10       08/16/19
Total:
486.20
CON001      Connexus Energy


Payment                               25736                1,425.81           07/18/19
Payment                               25736                18,884.26          07/18/19
Payment                               25911                1,600.86           08/16/19
Payment                               25911                19,468.42          08/16/19
                                      Total:               41,379.35
COY0o1      Coyote Logistics, LL C                                                           logistic services - delivery to customers
Payment                               25596                980.00            06/27/19
Payment                               25707                980.00            07/15/19
Payment                               25707                960.00            07/15/19
Payment                               26091                1,070.00          09/11/19
                                      Total:               3,990.00
CVH001      City of Vadnais Heights
Payment            25836                       224.16       08/05/19                         utilities
Total:
224.16
DAL002      Daleo Enterprises. Inc.
                                           Case 19-32928                    Doc 1       Filed 09/20/19 Entered 09/20/19 09:09:59                         Desc Main
                                                                                         Document     Page 50 of 89
Payment              25642                        68.27             07103/19                                   equipment repair/parts/supplies
Payment              25642                        191.71            07103119
Payment              25642                        4.13              07/03/19
Payment              25642                        238.27            07/03/19
Total:
DEE001       Dwight (Deed) Danielson
502.38
Payment                                25635                       929.28                06/28119              employee expense reimbursement
Payment                                25880                       1,109.26              08/09/19
Payment                                26021                       861.40                09104119
Payment                                26120                       590.98                09/13/19
                                       Total:                      3,490.92
DEH001       Kim Dehmer
Payment              26026                        963.55            09/06/19                                   purchase of product to be delivered to MN State Fair
Total:
963.55
DEN0O 1      Dennis the Janitor
Payment              25708                        280.21            07/15/19                                   carpet cleaning service
Total:
280.21
DIC001       Dick's I Lakeville Sanitation, Ire
Payment              25658                        2,635.51          07108/19                                   garbage and cardboard removal services
Payment              25837                        2,251.49          08/05/19
Payment              25962                        2,254.33          08127119
Total:
7,141.33
DLL001       Lower Foods
Payment              25597                        31,773.69         06/27/19                                   purchase of further processed beef products for resale to customers

Payment              25963                        46,684.18         08/27/19
Payment              26057                        47,445.57         09/09/19
Total:
229,548.18


                     ""'                   j
DVSOo1       DVS Renewal
Payment                                                             08/26/19                                   title transfer/license for Companv refrigerator van
Total:                                            ,so 2S
ECOOO1       Ecolab Pest Elim. Div.
350.25
Payment                                256 4                       409.56                07/03119              pest control services
Payment                                25644                       241.60                07/03/19
Payment                                25800                       409.56                07129119
Payment                                25893                       409.56                08/16/19
Payment                                26066                       409.56                09/10/19
                                       Total:                      1,879.84
ELW001       John Elwell
Payment                                                    25634               421.35               06/28/19   employee expense reimbursement
Payment                                                    25634               837.98               06/28/19
Payment                                                    25699               948.19               07/12/19
Payment                                                    25830               626.99               08102119
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Payment                                               25830                914.31              08/02/19
Payment                                               25878                694.10              08/09/19
Payment                                               25878                438.32              08/09/19
Payment                                               25951                548.45              08/22/19
Payment                                               25951                974.46                  08/22/19
Payment                                               26029                492.55                  09/06/19
Payment                                               26029                710.57                  09/06/19
Payment                                               26121                257.07                  09/13/19
Payment                                               26 121               671.99                  09/13/19
                                                      Total:               8,536.33
                                         I
ENC001      Encore Food Solutions, LLC
Payment                           25586                        17,632.98                06/24/19              sales commissions -independent rep handling BEK account
Payment                           25586                        155.30                   06/24/19
Payment                           25709                        147.24                   07/15/19
Payment                           25709                        127.70                   07/15/19
Payment                           25709                        18,942.21                07/15/19
Payment                           25894                        17,237.67                08/16/19
Payment                           25894                        66.90                    08/16/19
Payment                           25994                        19,077.07                08/30/19
Payment                           25994                        82.00                    08/30/19
Payment                           26067                        55.20                    09/10/19
Payment                           26067                        23,870.56                09/10/19
                                                               97,394.83

ENT002


Payment
            Entrees Finest


                    25838
                                  Tl         8,572.83           08/05/19                                      purchase of raw ingredients
Payment             26068                    21,220.64          09/10/19
Total:
70,742.65
FBC001      Fortune Bay Casino
Payment             25752                    250.00             07/22/19                                      quarterly marketing allowance paid to RL customer
Total:
250.00
FED002      FedEx
Payment             25643                    324.85             07/03/19                                      shipping services
Payment             25659                    1,075.88           07/08/19
Payment             25753                    1,000.08           07/22/19
Payment             25839                    329.05             08/05/19
Payment             25964                    445.05             08/27/19
Payment             26069                    561.43             09/10/19
Total:
FFF001      44 Farms Angus Steaks LL©
3,736.34
Payment                           25754                        17,100.00                07/22/19              purchase of raw ingredients
Payment                           25887                        17,100.00                08/14/19
Payment                           25916                        17,100.00                08/19/19
Payment                           26070                        22,800.00                09/10/19
                                  Total:                       74,100.00
                                       Case 19-32928                   Doc 1    Filed 09/20/19 Entered 09/20/19 09:09:59                  Desc Main
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FIFOO1     First Insurance Funding
Payment             25673                          7,490.98     06/23/19                         Insurance fees
Total:
7,490.98
FLEOO1     Label Works fka Flexolmprdls sions
Payment            25965                           1,007.50     08/27/19                         labels
Payment            26071                           1,007.17     09/10/19
Total:
2,014.67
FOMOO 1    FOLEY & MANSFIELD
Payment         25755                              4,795.00     07/22/19                         attomevs
Payment            26 103                          4,200.70     09/11/19
Total:
8,995.70
F00001     Foodservice News
Payment            25756                           1,525.00    07/22/19                          advertising in Food Service News
Payment            26072                   I       924.00      09/10/19
Total:
FRA0OT     Frattallone's Hardware Store'
2,449.00
                                                                                                 purchases of miscellaneous repair parts/supplies
Payment                              256 7                             47.16      06/28/19
Payment                              256 7                             124.67     06/28/19
Payment                              256 7                             10.26      06/28/19
Payment                              256 7                             20.00      06/28/19


Payment                              256 7                    163.22             06/28/19
Payment                              256       7              56.68              06/28/19
Payment                              256       7              66.46              06/28/19
Payment                              256       7              55.95              06/28/19
Payment                              256       7              15.58              06/28/19
Payment                              256       7              32.99              06/28/19
Payment                              256       7              22.47              06/28/19
Payment                              256       7              110.73             06/28119
Payment                              256       7              2.79               06/28/19
Payment                              256       7              54.49              06/28/19
Payment                              256.7                    57.48              06/28/19
Payment                              25660                    29.97              07/08/19
Payment                              25660                    33.46              07/08/19
Payment                              25660                    13.47              07/08/19
Payment                              25660                    20.98              07/08/19
Payment                              25711                    41,46              07/15/19
Payment                              25711                    39.99              07/15/19
Payment                              25711                    18.89              07/15/19
Payment                              25711                    16.35              07/15/19
Payment                              25711                    14.81              07/15/19
Payment                              25757                    60.17              07/22/19
Payment                              25767                    63.36              07/22/19
Payment                              25757                    7.99               07/22/19
Payment                              25757                    66.33              07/22/19
                                       Case 19-32928            Doc 1    Filed 09/20/19 Entered 09/20/19 09:09:59                    Desc Main
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Payment                          2586                  8.99                08/16/19
Payment                          25896                 96.86               08/16/19
Payment                          25896                 22.08               08/16/19
Payment                          25896                 87.66               08/16/19
Payment                          25896                 68.83               08/16/19
Payment                          25896                 169.14              08/16/19
                                    I
Payment                          25896                 11.20               08/16/19
Payment                          25896                 22.00               08/16/19
Payment                          25896                 47.82               08/16/19
Payment                          25896                 34.,47              08/16/19
Payment                          25896                 37.61               08/16/19
Payment                          2586                  25.07               08/16/19
Payment                          25896                 64.71               08/16/19
Payment                          260b8                 79.90               09/04/19
Payment                          260b8                4.49                 09/04/19
Payment                          26008                8.39                 09/04/19
Payment                          260p8                45.45                09/04/19
Payment                          260b8                66.95                09/04/19
Payment                          26092                41.05                09/11/19
Payment                          26092                92.38                09/11/19
Payment                          26092                 10.98               09/11/19
Payment                          26092                 17.96               09/11/19


FSEOOT                           I
           Syndigo, LLC formerly FSE et
                                                      2,416.81



Payment           25661                   1,100.00      07/08/19                          internet fee in order to connect to certain customers orders, etc.
Total:
1,100.00
GAROO      Garland's Inc
Payment           25897                   631.52        08/16/19
Total:
GBPOO      Green Bay Packaging, Inc.                                                      boxes and other packaging supplies
631.52
Payment                                                         494.00     06/20/19
                                 25T
Payment                          255 0               2.257.10              06/20/19
Payment                          2550                           642.60     06/20/19
Payment                          25570               2,318.90              06/20/19
Payment                          25598               1,029.70              06/27/19
Payment                          25598               2,644.48              06/27/19
Payment                          25598               1,829.80              06/27/19
Payment                          25598               1,007.58              06/27/19
Payment                          25662               2,172.76              07/08/19
Payment                          25662               2,160.60             07/08/19
Payment                          25662               1,864,55             07/08/19
Payment                          25662               1,392.40             07/08/19
Payment                          25662                          642.60    07/08/19
Payment
Payment
                                 p
                                 257 2
                                                     2,713.85
                                                     1,693.00
                                                                          07/15/19
                                                                          07/15/19
                                Case 19-32928              Doc 1     Filed 09/20/19 Entered 09/20/19 09:09:59               Desc Main
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Payment                       25712             2,212.00               07/15/19
Payment                       25712             2,072.86               07/15/19
Payment                       25712             1,351.00               07/15/19
Payment                       25774             2,974.25               07/24/19
Payment                       25774             2,848.30               07/24/19
Payment                       25774             1,993.60               07/24119
Payment                       25774             3,106.15               07/24/19
                                 ;
Payment                       25774                         268.50     07/24/19
Payment                       252 1             1,226.68               08/02/19
Payment                       25821                         828.35     08/02/19
Payment                       25821             1,416.80               08/02/19
Payment                       25821             2,299.92               08/02/19
Payment                       2582 1            1,523.67               08/02/19
Payment                       25863             1,363.04               08/09119
Payment                       25863                         642.60     08/09/19
Payment                       25863             1,416.80               08/09/19
Payment                       25663             1,974.04               08/09/19
Payment                       2s863             1,559.27               08/09/19
Payment                       25966                         321.30     08/27/19
Payment
Payment
Payment
                              2:
                              25966
                                                2,772.90


                                                2,503.30
                                                            185.75
                                                                       08/27/19
                                                                       08/27/19
                                                                       08127/19
Payment                       25966             1,284.30               08/27/19


Payment                       26009              871.20                 09104/19

Payment                       26009              426.50                 09/04/19
Payment                       26009              2,059.40               09/04/19
Payment                       26036              2,446.50               09/06/19
Payment                       26036              2,059.40               09/06/19
Payment                       26036              2,772.90               09/06/19
Payment                       26036              684.00                 09/06/19
Payment                       26036               1,285.20              09/06/19
Payment                       26036              774.20                 09/06/19
Payment                       26112              642.60                 09/13/19
Payment                       26112               1,738.10              09/13/19
Payment                       26112              3,451.80               09/13/19
Payment                       26112              684.00                 09/13/19
Payment                       26112              3,154.90               09/13/19
Payment                       26112              2,587.15               09113/19
                              Tott:              96,341.96
GLA001    EUGENE GLARA TO N
Payment          25589                 789.95      06/25/19                           final payment made to terminated emplovee
                                  I
Total:
789.95
GPBOO 1   Great Plains Beef




                              3
Payment                                         37,190.15              06/21/19       purchases of raw beef ingredients
Payment                       255 6             4,774.16              06/21119
Payment                       256 8             35,549.95             06/28/19
                           Case 19-32928              Doc 1      Filed 09/20/19 Entered 09/20/19 09:09:59   Desc Main
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Payment                  25618             10,677.41               06128/19
Payment                  25618             6,407.14                06/28/19
Payment                  25639                          701.91     07/03/19
Payment                  25639                          509.77     07103119
Payment                  25639             13,830.97               07/03/19
Payment                  25639             36,712.69               07/03119
Payment                  25674             9,010.14                07/10/19
Payment                  25674             4,720.15                07/10/19
Payment                  25674             33,039.23               07110/19
Payment                  25713             13,768.12               07/15/19
Payment                  25713             9,829.98                07/15/19
Payment                  25713             12,216.63               07/15/19
Payment                  25713             1,202.37                07/15/19
Payment                  25713             1,533.40               07/15/19
Payment                  25743                          292.63    07/15/19
Payment                  25713             5,530.70               07/15/19
Payment                  25713             1,455.55               07/15/19
Payment                  25775             34,816.83              07/24/19
Payment                  25776             11,728.7 1             07/24/19
Payment                  25822             35,857.79              08102119
Payment                  25840             21,610.27              08/05/19


Payment                  25898              844.00                  08/16/19
Payment                  25898              4,653.50                08/16/19
Payment                  25898              2,457.42                08/16/19
Payment                  25898              2,512.30                08116119
Payment                  25938              27,767.21               08/16/19
Payment                  25938              906.16                  08/16/19
Payment                  25938              844.00                  08/16/19
Payment                  25938              4,653.50                08/16/19
Payment                  25938
                            I
                                            2,457.42                08/16/19
Payment                  25948              2,991.22                08/22/19
Payment                  25948              37,401.62               08122/19
Payment                  25967              42,431.13               08/27119
Payment                  25995              9,965.03                08/30/19
Payment                  25995              891.52                  08/30/19
Payment                  25995              8,971.69                08/30/19
Payment                  25995              4,217.23                08/30/19
Payment                  25995              12,357.12               08/30/19
Payment                  26010              7,395.58                09/04119
Payment                  26010              5,384,58                09/04/19
Payment                  26010              10,157.45               09104119
Payment                  26037              39,212.81               09/06/19
Payment                  26087              1,030.35                09106/19
Payment                  26073              33,752.52               09/10/19
                         Tot4t:             674,895.38
GRA0O2    Graphicgoo
Payment          25714       I    300.00      07/15/19                            websit hosting fee
                                      Case 19-32928            Doc 1   Filed 09/20/19 Entered 09/20/19 09:09:59                 Desc Main
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Payment             25714                     300.00      07/15/19
Payment             25714                     300.00      07/15/19
Payment             25979                     300.00      08/28/19
Payment             26104                     300.00      09/11/19
Total:
1,500.00
GROOO1      John C Grosser
Payment             25841                     777.60      08/05/19
                                                                                        sales commissions for sales rep working with food banks
Payment             26080                     502.20      09/10/19
Total:
1,279.80
HAL003      David Halverson
Payment             25909                     326.36      08/16/19
Total:
                                          I                                             employee expense reimbursement

326.36
HAY001      Hays Companies
Payment             25740                     3,734.24    07/22/19
Total:
                                          I                                             Insurance
3,734.24
HBBOO 1     HeartBrand Beef Sales. Inc.
Payment             26082                     12,775.66   O9/11/19
                                                                                        purchase of raw beef ingredients
No.         Name
Total:
12,775.66
HCCOO1      Heinrich Consulting Compar
Payment             25663                     4,255.11    07/08/19                      Sales commissions to independent sales rep (Blake's)
Payment             25842                     2,687.44    08/05/19
Total:
6,942.55
HEA001      Health Partners
Payment             25697                     27,701.12   07/12/19                      health & dental insurance premiums
Payment             25885                     25,112.56   08/13119
Payment             26038                     27,880.50   09/06/19
Total:
80,694.18
HIG0O 1     Midland American (High-Ma
Payment             25664                     699.50      07/08/19                      equipment repairs and supplies
Payment             26086                     475.59      09/11/19
                                          I
Total:
1,175.09
HOL001      Holiday Credit Office
Payment             25599                     732.11      06/27/19                      diesel for former delivery truck
Payment             25801                     623.28      07/29/19
Payment             26 105                    27.45       09/11119
Total:
1,382.84
HOS001      Hospitality Minnesota
Payment            26039                      550.00      09/06/19
                                          I                                             annual fees to MN Hospitality Organization
Total:
550.00
HYG001      Hygiena LLC
Payment            25665                  I   459.36      07/08/19                      testing services
                                      Case 19-32928                      Doc 1      Filed 09/20/19 Entered 09/20/19 09:09:59                    Desc Main
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Payment           26093                        459.29            09/11119
Total:
ING001    Ingersoll Rand Company
                                                                                                                repair parts for equipment
918.65
Payment                            25666                        2,255.95                  07/08/19
Payment                            25843                        1,373.33                  08/05/19
Payment                            25968                        262.16                    08/27/19




                                   ;
Payment                                                         364.74                    09/06/19
                                                                4,256.18
INS001    Institute for Enviro Health IE       lab
Payment           25667                        60.00             07/08/19                                       outside product testing

Payment                            260, 1                       30,00                     09/06/19
Payment                            2604 1                       70.00                     09/06/19
Payment                            26041                        130.00                    09/06/19
Payment                            26094                        120.00                    09111/19
                                           i
Payment                            26094                        331.00                    09/11/19
Payment                            26094                        333.00                    09/11/19
Payment                            26094                        268.00                    09/11/19
                                   Total:
                                       ,
                                                                1,772.00
INS002    IEH- Warren Analytical Labr' ratory
Payment         25685                    25.00                   07/11/19                                       outside product testing
Payment         25866                    25.00                   08/09/19
Payment         26095                    25.00                   09/11/19
Total:
75.00
IVY 001   Ivy Farms Inc.

          Payment                                       25571                    315.00              06/20/19   logistic services to customer
          Payment                                       25571                    550.00              06120/19
          Payment                                       25571                    600.00              06/20/19
          Payment                                       25571                    600.00              06/20/19
          Payment                                       25571                    550.00              06/20/19
          Payment                                       25571                    315.00              06/20/19
          Payment                                       25687                    315.00              07/11/19
          Payment                                       25687                    600,00              07/11/19
          Payment                                       25687                    550.00              07/11/19
          Payment                                       25687                    500.00              07/11/19
          Payment                                       25687                    551.25              07/11/19
          Payment                                       25687                    300.00              07/11/19
          Payment                                       25687                    600.00              07/11/19
          Payment                                       25687                    550,00              07/11/19
          Payment                                       25687                    600,00              07/11/19
          Payment                                       25687                    550.00              07/11/19
          Payment                                       25687                    315.00              07/11/19
          Payment                                       25687                    550.00              07/11119
          Payment                                       25687                    600.00              07/11/19
          Payment                                       25687                    393.75              07/11/19
          Payment                                       25687                    175,00              07/11/19
                                 Case 19-32928             Doc 1       Filed 09/20/19 Entered 09/20/19 09:09:59                       Desc Main
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          Payment                       25687                       550.00               07/11/19
          Payment                       25687                       600.00               07/11/19
          Payment                       25889                       472.50               08/14119
          Payment                       25889                       550.00               08/14/19
          Payment                       25889                       600.00               08/14/19


Payment                        258 9             550.00                       08/14/19
Payment                        25889             600.00                       08/14/19
Payment                        25889             600.00                       08/14/19
Payment                        25889             550.00                       08/14/19
Payment                        25889             315.00                       08/14/19
Payment                        25889             446.25                       08/14/19
Payment                        25889             50.00                        08/14/19
Payment                        25934             315.00                       08/21/19
Payment                        25934             550.00                       08/21/19
Payment                        25934             600.00                       08/21/19
Payment                        25934             393.75                       08/21/19
                                  I
Payment                        25934             550.00                       08/21/19
Payment                        25934             600.00                       08/21/19
Payment                        25934             315.00                       08/21/19
                                  I
Payment                        25934             600.00                       08/21/19
Payment                        25934             550.00                       08/21/19
Payment                        25997             600.00                       08/30/19
Payment                        25997             550.00                       08/30/19
Payment                        25997             550.00                       08/30/19
Payment                        25997             600.00                       08/30/19
Payment                        25997             350.00                       08/30/19
Payment                        25997             472.50                       08/30/19
Payment                        25997             236.25                       08130/19
Payment                        25997             600.00                       08/30/19
Payment                        25997             550.00                       08/30/19
Payment                        25997             350.00                       08/30/19
Payment                        25997             600.00                       08/30/19
                                  I
Payment                        25997             550.00                       08/30/19
                                  I
                               Total:            29,918.75
JBP001    J & B Partners Inc
Payment                        25600                       195.00            06/27/19               logisitic services to customers
Payment                        25600            1,394.00                     06/27/19
                                  I
Payment                        25600            3,400.00                     06/27/19
Payment                        25600            1,192.00                     06/27/19
Payment                        25619            1,270.00                     06/28/19


Payment                        25803             1,230.00                     07/29/19

Payment                        25803             1,595.00                     07/29/19
                                   I
Payment                        25803             1,505.00                     07/29/19
Payment                        25803             1,300.00                     07/29/19
Payment                        25803             1,909.00                     07/29/19
                                 Case 19-32928       Doc 1   Filed 09/20/19 Entered 09/20/19 09:09:59                 Desc Main
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Payment                       25823         1,325.00           08/02/19
Payment                       25823         1,240.00           08/02/19
Payment                       25823         1,455.00           08/02/19
Payment                       25823         1,349.00           08/02/19
Payment                       25823         2,489.00           08/02/19
                                 I
Payment                       25823         1,891.50           08/02/19
                                  I
Payment                       25844         1,450.00           08/05/19
Payment                       25844         1,735.00           08/05/19
Payment                       25844         980.00             08/05/19
Payment                       25844         1,395.00           08/05119
Payment                       25844         1,729.00           08/05119
Payment                       25867         1,450.00           08/09/19
Payment                       25867         2,494.00           08/09/19
                                 I
Payment                       25867         327.24             08/09/19
Payment                       25867         1,230.00           08/09/19
Payment                       25867
                                 I
                                            1,330.00           08/09/19
Payment                       25867         1,540.00           08/09/19
Payment                       25899         1,814.00           08/16/19
                                 I
Payment                       25899         1,400.00           08/16/19
Payment                       25899         1,395.00           08/16/19
Payment                       25899         1,185.00           08/16/19
Payment                       25899         1,050.00           08/16/19
Payment                       25969         2,834.00           08/27/19
Payment                       25969         2,629.00           08/27/19
Payment                       25969         1,210.00           08/27/19
Payment                       25969         1,395.00           08/27/19
Payment                       25969         2,059.00           08/27/19
Payment                       25969         1,544.00           08/27/19
                                  I
                              Total:        76,928.82
JBW001    J & B Group


Payment                       25900         3,640.18           08/16/19       purchases of raw beef and pork ingredients/boxed beef/pork
Payment                       25900         2,953.45           08/16/19
                                  I
Payment                       25941         3,131.19           08/22/19
Payment                       25941         4,309.89           08/22/19
Payment                       25970         15,898.48          08/27/19
Payment                       25998         5,532.30           08/30/19
Payment                       25998
                                  I
                                            1,349.09           08/30/19
Payment                       25998         3,029.95           08/30/19
Payment                       26011         7,711.20           09/04/19
Payment                       26042         1,904.58           09/06/19
Payment                       26042         7,259.73           09/06/19
Payment                       26042         2,668.13           09/06/19
Payment                       26 124        2,650.64           09/13/19
Payment                       26124         2,437.58           09/13/19
Payment                       26124         2,916.09           09/13/19
                              Tota!:        160,001.46
JLR002    James L. Ratcliff
                                      Case 19-32928               Doc 1          Filed 09/20/19 Entered 09/20/19 09:09:59                     Desc Main
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Payment             25672                 12,716.49          07/08/19                              building rent under lease agreement
Payment             25845                 12,716.49          08/05/19
Payment             26043                 12,716.49          09/06/19
Total:
38,149.47
J0HO01      Robert Johnson
Payment             25787                 265.20             07/24/19                              emplyee expense reimbursement
Payment             25950                 239.80             08/22/19
Total:
505.00
KATOO1      Kath Fuel Oil
Payment             25846                 182.00             08/05/19                              purchase of food grade oil for equipment
Payment             26044                 146.92             09/06/19
Total:
328.92
KMTOO       KM Transportation Co., Inc.
Payment             25602                 1,002.00           06/27/19                              logisitic services to customers
Payment             25847                 933.00             08/05/19
Total:
1,935.00
LAROOT      Andrew Larson
Payment             26025                 826.56             09/06/19                              purchase of product to be delivered to MN State Fair
Total:
826.56
LIN002      Lincoln Provision, Inc
Payment             26045                 11,372.40          09/06/19                              purchase of raw beef ingredints
Total:
11,372.40
LMA001      Loma Systems
Payment             25848                 375.09             08/05/19                              equipment repair parts

Total:
963.85
LOMOO1      Arlyn Lomen

            Payment                                25785                107.18          07124/19   emplyee expense reimbursement
            Payment                                25785                288.10          07/24/19
            Payment                                25924                387.37          08/20/19
            Payment                                25924                569.33          08/20/19
            Payment                                26020                587.10          09104119
            Payment                                26020                82.09           09/04/19
            Payment                                26119                107.89          09/13/19
                                                   Total:           2,129.06
LOM004      Andrew Lomen

            Payment                                  25603          385.91              06/27/19   emplyee expense reimbursement & lawn services
            Payment                                  25648          428.12              07/03/19
            Payment                                  25684          265.45              07/10/19
            Payment                                  25725          377.75              07/15/19
            Payment                                  25786          399.10              07124/19
            Payment                                  25829              152.45          08/02/19
            Payment                                  25829          205.16              08/02/19
                                       Case 19-32928                      Doc 1         Filed 09/20/19 Entered 09/20/19 09:09:59                              Desc Main
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           Payment                                      25879                398.56                  08/09/19
           Payment                                      25908                342.51                  08/16/19
           Payment                                      25949                366.25                  08/22/19
           Payment                                      26005                213.87                  08/30/19
           Payment                                      26027                242.24                  09/06/19
           Payment                                      26122                200.00                  09/13/19
                                                        Total:               3,977.37
MAGOO1     Robert H. Magie, Ill
Payment            25942                     715.94               08/22/19                                      legal fees
Total:
715.94
MAR001     MarketFresh
Payment            25849                     363.00               08/05/19                                      product testing
Payment            25980                     800.00               08/28/19
Total:
1,163.00
MAR003     Marel Inc
Payment            25850                     506.77               08/05/19
Total:
                                         I                                                                      trimming knives

506.77
MBDOO 1    Martin Brothers Distributing Io., Inc.
Payment            25915                     2,250.00             08/19/19                                      purchase of used refigerated van
Total:
2,250.00
MCD001     McDonough's Sewer Servic,, Inc.
Payment          25925                  615.88                    08/20/19                                      waterjetting drain lines in production area
Total:
615.88
No.        Name
MCMOO 1    McMaster-Carr
Payment                                                 25604                99.46               06/27/19       equipment repair parts
Payment                                                 25604                77.23               06/27/19
Payment                                                 25604                62.48               06/27/19
Payment                                                 25776                223.77              07/24/19
Payment                                                 25776                135.18              07/24/19
Payment                                                 25901                38.01               08/16/19
Payment                                                 25901                110.65              08/16/19
Payment                                                 25901                9.52                08/16/19
Payment                                                 25901                51.81               08/16/19
Payment                                                 25901                175.25              08/16/19
Payment                                                 25901                257.09              08/16/19
Payment                                                 26097                172.21              09111/19
                                                        Total:               1,412.66
MID001     Midwest Refrigerated Transport
Payment                           25590                          1,064.08                 06/25/19              logisitic services to customers
Payment                             25590                        1,118.27                 06/25/19
Payment                             25590                        1,152.81                 06/25/19
Payment                             25590                        953,53                   06/25/19
Payment                             25590                        1,926.22                 06/25/19
                                      Case 19-32928            Doc 1   Filed 09/20/19 Entered 09/20/19 09:09:59                  Desc Main
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Payment                            25590             298.2 7             06/25/19
Paym e nt                          25590             1,999.53            06/25/19
Paym ent                           25590             396.40              O6/25/19
Payment                            2s590             1,629.39            06/25/19
                                       I
Payment                            25669             1,114.39            07/08/19
Payment                            25669             923.30              07/08/19
Payment                            25669             468.99              07/08/19
Payment                            25669             1,080.72            07/08/19
                                       I
Payment                            25777             890.00              07/24/19




                                   :
Payment                            25777             756.24              07/24/19
Payment                                              961.00              07/24/19
Payment                            257 7             1,114.39            07/24/19
Payment                            257 7             2,777.49            07/24/19
Payment                            259 [2            822.80              08/16/19
Payment                            25902             899.49              08/16/19
Payment                            25902             4,138.59            08/16/19
                                       I
Payment                            25902             1,149.24            08/16/19
Payment                            25902             1,529.31            08/16/19
Payment                            25981             820.99              08/28/19
                                       I
Payment                            25981             243.21              08/28/19
Payment                            25981             903.75              08/28/19
Payment                            25981             1,069.24            08/28/19
Payment                            25981
                                       I
                                                     1,431.60            08/28/19
Payment                            2598 1            1,616.00            08/28/19
Payment                            25981             875.94              08/28/19
Payment                            25981             1,064.40            08/28/19
                                   Total:            37,189.58
                                       I



MINO1       Minnesota Occupational Heth
Payment            25621                363.00        06/28/19                          employee background checks
Total:
363.00
MULOO 1     Multivac, Inc
Payment             25622                   208.35    06/28/19                          equipment repair parts
Payment             26098                   410.49    09/11/19
Total:
618.84
MYT001      Mytech Partners, Inc
Payment                            25716             4,210.21            07/15/19       IT services (outside service)
Payment                            2ssd4             4,210.21            07/29/19
Payment                            25804             353.25              07/29/19
                                       I
Payment                            25943             4,210.21            08/22/19
                                   Total:            12,983.88
NEXOO 1     Nextera Communications
Payment            25739               I    430.34    07/18/19                          telephone services
Payment            25912                    441.22    08/16/19
Total:
871.56
NFXOO1      Norflex
                                                                                        rolled film for production floor and packaging
                                          Case 19-32928            Doc 1   Filed 09/20/19 Entered 09/20/19 09:09:59                   Desc Main
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Payment             25717                       1,723.20     07/15/19
Payment             26087                       1,723.20     09/11/19
Total:
3,446.40
NMCOO1      Northland Mechanical Contr1ctors, Inc.
Payment             25605                       724.75       06/27/19                       waterheater repairs and service - in production area
Payment             25605                       1,556.35     06/27/19
Total:
2,281.10
NOR005      North American Bison, LLC
Payment             25670                 I 26,889.33        07/08/19                       purchase of raw bison ingredients
Payment             25869                       26,070.46    08109/19
Total:
52,959.79
OSC001      Oxygen Service Company
Payment             25718                       25.96        07/15/19
Payment             25805                       25.13        07/29/19                       oxygen tanks
Payment             26012                       26.63        09/04/19
Total:
77.72
OSS001      Olson's Sewer Service, Inc.
Payment             25806                       1,297.50     07/29/19                       sewer pumping services
Payment            25926                        1,216.25     08/20/19
Total:
2,513.75
PAC002      Pace Analytical
Payment             26023                       585.00       09/04/19                       OA audit supplies

Total:
PAYOO1      paydayz Staffing Solutions, Ir]c.
585.00
Payment                              25577                  27,203.49        06/21119       service supplying temporary workers
                                          i
Payment                              25623                  24,557.96        06/28/19
Payment                              25688                  23,393.39        07111/19
Payment                              257 19                 24,688.72        07/15/19
Payment                              25743                  24,226.72        07/19/19
Payment                              25750                  24,179.71        07/25/19
Payment
Payment
Payment
                                     «:
                                     25870
                                                            17,003.42
                                                            21,813.93
                                                            20,227.12
                                                                             07/29/19
                                                                             08/02/19
                                                                             08/09/19
Payment                              25903                  22,761.21        08/16/19
Payment                              25953                  21,813.93        08/27119
Payment                              25971                  23,081.13        08/27/19
Payment                              260 f3                 16,162.48        09/04/19
Payment                              26113                  20,929.58        09/13/19
                                     Total:                 312,042.79
PIO001      Pioneer Meats, LLC
Payment                              25759                  1,853.85         07/22/19       purchase of raw ingredients
Payment                              25935                  4,695.45         08/21/19
                                         I
Payment                              25935                  13,738.59        08/21/19
                                         Case 19-32928              Doc 1     Filed 09/20/19 Entered 09/20/19 09:09:59                  Desc Main
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Payment                              25935                277.50                 08/21/19
Payment                              26046                2,500.00               09/06/19
                                     Total:               23,065.39
POH001      Pohl Food Service
Payment                              25720                857.45               07/15/19        purchases of supplies/products
                                          I
Payment                              25720                 1,948.73            07/15/19
Payment                              25720                245.08               07/15/19
                                         I
Payment                              25871                912.30               08/09/19
Payment                              25871                468.52               08/09/19
Payment                              26074                585.65               09/10/19
Payment                              26074                689.31               09/10/19
Payment                              26083                289.18               09/11/19


PRO001      Pro-Pac Services, Inc
                                     Toll,                5,996.22

                                                                                               blades/knives
Payment             25808                     3,304.63      07/29/19
Payment             26075                     605.36        09/10/19
Total:
pPRVO 1     Provisur Technologies
3,909.99                                                                                       supplier of patty paper
Payment                              zsrhs               3,656.00              07/15/19
Payment                              257d1                           381.48    07/15/19
Payment                              25760                           139.67    07/22/19


                                     ,,,r
Payment                              25760               3,656.00              07/22/19
Payment                                                  2,990.50              08/30/19


Payment            25999                      377.70        08/30/19
Payment            26014                      3,656.00      09/04/19
Total:
PUROO 1     Purely Gourmet Meat Co., LjC
14,857.35                                                                                      purchase of dry aged beef products for resale of customers
Payment                              255 0                1,150.84             06/21/19
Payment                              25580                317.75               06/21/19
Payment                              25761                1,452.47             07/22/19
Payment                              26076                1,432.11             09/10/19
                                     Total:               4,353.17
QFL001      Quality Forklift Sales & Service, Inc.                                             fork lift/floor iacks repairs
Payment                              25809                354.34               07/29/19
Payment                              25809                281.38               07/29119
Payment                              25972                1,500.16             08/27/19
Payment                              25972                147.06               08/27/19
Payment                              25972                354.34               08/27/19
Payment                              25972                354.34               08/27/19
                                          I
                                     Total:               2,991.62
QUA0O1      Jim Quarnstrom
Payment            25606                                    06/27/19
                                          199.00                                               sales commissions
Payment            25722                      59.40         07/15/19
Payment            25918                      140.40        08/19/19
                                      Case 19-32928               Doc 1    Filed 09/20/19 Entered 09/20/19 09:09:59                    Desc Main
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Payment            26106                      43.20       09/11/19
Total:
QUI001     Quicksilver Express Courier
342.00
Payment                             256b7                81.73               06/27119       intra metropolitan delivery services
Payment
Payment                             "p
                                    257 3
                                                         163.83
                                                         291.15
                                                                             07/15/19
                                                                             07/15/19
Payment                             2s9'                 157.98              08/19/19
Payment                             25919                243.00              08/19/19
Payment                             26099                285.26              09/11/19
Payment                             26099                312.47              09/11119
                                    Total:               1,535.42
QUI003     AstroNova, Inc.
Payment            25762                      321.95      07/22/19                          ink cartridges and labels for box labels
Payment            25762                      478.96      07/22/19
Payment            26015                      478.95      09/04/19
Payment            26015                      552.97      09104/19
Total:
1,832.83
RAM002     Ramsey County Sheriff
Payment            25583                      398.99      06/20/19                          employee garnishment payments
                                          I
Total:
REF001     Refrigerated Transport, Inc.
1,643.59
                                                                                            logistic services to customers
Payment                            zsso                           901.06    07/11/19
Payment                            25690                          617.70    07/11/19
Payment                            25690               1,359.92             07/11/19
Payment                            25690                          748.31    07/11/19
Payment                            25690                          798.62    07/11/19
Payment                            25690                          578.10    07/11/19
Payment                            25690               1,011.22             07111/19
Payment                            25690                          547.14    07111119
                                      I
Payment                            25690                          911.06    07/11/19
Payment                            25690                          578.81    07/11/19
Payment                            25690                          634.30    07/11/19
Payment                            25690               1,128.33             07/11/19
Payment                            25690                          900.96    07/11119
Payment                            25690                          709.73    07/11/19
                                       I
Payment                            25690                          729.79    07/11/19
Payment                            25690                          738.25    07/11/19
Payment                            25690                          741.77    07/11/19
                                          I
Payment                            25690                          976.12    07/11/19
Payment                            25690                          547.14    07/11/19
Payment                            25779                          911.06    07124/19
Payment                            25779                          547.14    07124/19
Payment                            25779               1,390.22             07/24119
Payment                            25779               1,016.90             07/24119
Payment                            257 79                         749.27    07/24/19
                               Case 19-32928               Doc 1    Filed 09/20/19 Entered 09/20/19 09:09:59   Desc Main
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Payment                     25779                          652.06    07/24/19
Payment                     25779                          731.77    07/24/19
Payment                     25779               1,306.69             07/24/19
Payment                     25779                          911.06    07/24/19
                                I
Payment                     25779                          522.65    07/24/19
Payment                     25779               1,323.35             07/24/19
Payment                     25779                          891.05    07/24/19
Payment                     25779                           64.00    07/24/19
Payment                     25779                          821.02    07/24/19
                                I
Payment                     25873                          547.14    08/09/19
Payment                     25873                          860.16    08/09/19
Payment                     25873                          889.76    08/09/19
Payment                     25873                          699.83    08/09/19
Payment                     2s873                          731.77    08/09/19
Payment                     25873
                                I
                                                           545.04    08/09/19
Payment                     25873                          773.41    08/09/19
Payment                     25873               1,491.46             08/09/19

                                I
Payment                     25927                545.04               08/20/19
Payment                     25927                783.85               08/20/19
Payment                     25927                907.82               08/20/19
Payment                     25927                997.72               08/20/19
Payment                     2s927                567.44               08/20/19
Payment                     25927                729.27               08/20/19
Payment                     25927                907.82               08/20/19
Payment                     25927                843.70               08/20/19
Payment                     25927                1,144.05             08/20/19
Payment                     260 6                1,168.22             09/04/19
Payment                     260 6                706.87               09/04/19
Payment                     260 6                922.82               09/04/19
Payment                     260 6                945.47               09/04/19
Payment                     260 6                909.24               09/04/19
Payment                     260 6                584.99               09/04/19
Payment                     260 6                695.87               09/04/19
Payment                     260 6                843.96               09/04/19
Payment                     26077                777.84               09/10/19
Payment
Payment
Payment
                            :!
                            26077
                                                 567.44
                                                 914.82
                                                 532.62
                                                                      09/10/19
                                                                      09/10/19
                                                                      09/10/19
Payment                     26077                1,024.12             09/10/19
Payment                     26077                1,274.87             09/10/19
Payment                     26077
                                I
                                                 985.57               09/10/19
                            Total:               57,867.55
REI002     Reiser
Payment             25810            955.41        07/29/19                          equipment repair parts
Payment             26000            1,328.98      08/30/19
Total:
2,284.39
                                        Case 19-32928                        Doc 1          Filed 09/20/19 Entered 09/20/19 09:09:59                             Desc Main
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RF MOO1     R&F Marketing
            Payment                                       25727                 74.40                        07/17/19   purchase of further processed product for resale to customers
            Payment                                       25727                 74.40                        07/17/19
            Payment                                       25727                 74,40                        07/17119
            Payment                                       25727                 74.40                        07/17/19
            Payment                                       25727                 74.40                        07/17/19
            Payment                                       25727                 192.20                       07117/19
            Payment                                       26047                 74,40                        09/06/19
                                                           Total:                        638.60
ROM001      Rome LTD

Payment                                                 25608                            162.44              06/27119   grinding knives
Payment                                                 25608                            113.75              06/27/19


Payment                             259J8                           337.75                        08/20/19
                                          I
Payment                             25928                           124.21                        08/20/19
Payment                             25928                           88.02                         08/20/19
Payment                             26100                           1,840.89                      09/11/19
Payment                             26100                           114.33                        09/11/19
                                    Tot: 'I:                        8,153.78
ROY0O1      Royal Foods, Inc
Payment            25624                       1,410.50              06128/19                                           purchases of raw ingredients
Payment            25763                       4,633.74              07/22/19
Payment            26084                       11,482.88             09/11/19
Payment            26084                       4,722.96              09/11/19
Total:
22,250.08
SAIOO1      Sanimax USA Inc
Payment           25675                        120.00                07/10/19                                           picks-up waste products
Payment           25904                        120.00                08/16/19
Payment           26048                        149.99                09/06/19
Total:
SCSoo1      Supply Chain Services, LLC
389.99
Payment                             25676                           1,696.90                      07/10/19              packaging supplies (labels)
Payment                             2sods                           1,696.90                      08/16/19
Payment                             25973                           416.10                        O8/27/19
Payment                             25973                           377.50                        08/27/19
Payment                             26088                           1,696.90                      09/11/19
                                    Total:                          5,884.30
SEN0OT      Sensitech Inc
Payment            25625                       180.00                06/28/19                                           temperature recorders
Total:
180.00
SH0001      Shoes for Crews, LLC
Payment            25974                       82.96                 08/27/19                                           shoe purchase program for workers - workers reimburse Company for shoes purchased
Total:
82.96
SMS001      Sierra Meat & Seafood
                                         Case 19-32928             Doc 1     Filed 09/20/19 Entered 09/20/19 09:09:59                   Desc Main
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Payment            25626                     1,015.30      06/28119                           purchases of specialty meat ingredients
Payment            25825                     973,97        08/02/19
Total:
1,989.27
SORO0 1    Solid Refrigeration
Payment                            25645                5,261.56              07/03/19
                                         I
                                                                                              repair services for IQF (freeze tunnel)
Payment                            25645                           410.08     07103119
Payment                            257 88               1,593.72              07/24/19
                                         y
Payment                                                             195.32    08/16119
No.
                                   2590r
           Name
Total:
STOO1      Innovative Office Solutions
8,208.38
Payment                            25636                 137.23               06/28119        office supplies and paper
Payment                            2s63ls                226.7 1              06/28119
Payment                            25635                 60.16                06/28/19
Payment                            25692                 153.49               07/11/19
Payment                            25692                 37.57                07/11/19
Payment                            25764                 40.29                07/22/19
Payment                            25764I                167.65               07122119
Payment                            25907                 64.58                08116/19
Payment                            25907                 182.47               08/16/19
Payment                            2605                  37.57                09106/19
Payment                            2605p                 37.57                09106/19
Payment                            2605b                 55.25                09/06119
Payment                            2610                  37.57                09/11/19
                                   Tota]:                1,238.11
STC001     St Croix Gaming Commission
Payment           26108                  I   550.00        09111/19                           annual vendor licensing fee
Total:
550.00
SUP002     Superb Meats of Minnesota
Payment           25637                  I 4,421.03        06/28/19                           puchase of miscellaneous beef products
Total:
4,421.03
SUZ001     Suzanne Neuman-Full
Payment          26127                       487.20        09/13/19                           employee expense reimbursemnt
Total:
TH0002     Thousand Hills Cattle Company
487.20                                   I
Payment                            25627                 7,505.63              06/28/19       purchases of raw ingredients
                                         I
Payment                            25677                 7,505.63              07/10/19
Payment                            25695                 7,511.25              07/12/19
Payment                            25695                 7,507.50              07112/19
Payment                            25728I                7,530.00              07/17/19
Payment                            25781                 7,505.63              07/24/19
Payment                            25826                 7,513.13              08/02/19
Payment                            2587                  7,501.88              08/09119
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Payment                         25982              7,500.00           08/28/19
Payment                         26o (7             7,507.50           09/04/19
Payment                         260 17             7,511.25           09/04/19
Payment                         26o78              7,511.25           09/10/19
                                                   90,110.65
TIMOO 1


Total:
          Tim Tyrrell
                                "T                                                   employee expense reimbursemnt

TOM001    Tomahawk Manufacturing, Ir\c.
508.64
Payment                         25765              3,889.15           07/22/19       purchases of speicalized tooling and molds
Payment                         25929              2,125.65           08/20/19
Payment                         25979              292.99             08/20/19
Payment                         26 101             3,890.65           09/11/19
                                Total:             10,198.44
TPSOOT    Team Personnel Service, Inc]
Payment                         25609              831.42             06/27/19       provides temproary worker services
                                     I
Payment                         25609              2,234.81           06/27119
Payment                         25678              280.22             07/10119
Payment                         25678              2,199.61           07/10/19
Payment                         2571               2,654.32           07/25/19
Payment                         25791              26.90              07/25/19
Payment                         25852              2,615.49           08/05/19
Payment
Payment
                                ;
                                259 0
                                                   3,290.19
                                                   2,840.15
                                                                      08/05/19
                                                                      08/19/19
Payment                         25920              3,563.13           08/19/19
Payment                         25975              3,214.06           08/27/19
Payment                         25975              257.47             08/27/19
Payment                         26002              3,370.45           08/30/19
                                    I
Payment                         26051              2,229.59           09/06/19
Payment                         26 114             2,597.39           09/13/19
                                    '              32,205.20
                                Tota:
TRU001    Trugreen
Payment           25745                   196.39    07/19/19                         lawn services - fertilizer
Payment           25944              I    196.39    08/22119
Total:
392.78
TTI001
Payment
Payment
          '"''"'" '""'"'""'°"
                  25746
                  25945
                                   T      300.00
                                          300.00
                                                    07/19/19
                                                    08/22119                         cold storage facility fees
Payment           26018                   300.00    09/04/19
Total:
TW R001   Teton Waters Ranch
900.00
Payment                         2s5587             3,329.20           06/24/19       purchases of raw ingredients
Payment                         25587              7,155.00           06/24/19
Payment                         25587              2,400.00           06/24/19
Payment                         25567              2,104.00           06/24/19
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Payment                                             21,200.91             07/10/19
Payment


UIB00 1
Payment
          Upper Iowa Beef
                25578
                            :I
                            Tota:


                                       42,476.78
                                                    22,328.00
                                                     58,517.11


                                                      06/21/19
                                                                          07/17/19




Payment                     25591                  16,401.63             06/25/19
                                   I
                                                                                         purchases of raw ingredients
Payment                     25591                  20,112.68             06/25/19
                                   I
Payment                     256 10                 11,047.52             06/27/19


                            ®
Payment                                            12,104.76             06/27/19
Payment                     2564                   30,787.05             07/03/19
Payment                     25649                  17,211.20             07/05/19
Payment                     25649                  9,794.53              07/05/19
Payment                     25649                  4,696.50              07/05/19
Payment                     25680                  12,120.6 1            07/10/19
Payment                     25680
                                   I
                                                   31,012.77             07/10/19
Payment                     25696                  28,845.14             07/12/19
Payment                     25696                  7,151.68              07/12/19
Payment                     25726                  34,479.47             07/15/19
Payment                     2572                   2,413.37              07/15/19
Payment                     2573                   19,659.56             07/17/19
Payment
Payment
                            ;
                            2574
                                I
                                                   18,065.48
                                                   11,393.50
                                                                         07/19/19
                                                                         07/19/19
Payment                     25766                  34,296.64             07/22/19
Payment                     2s76                   9,615.28              07122/19
Payment
Payment                     P
                            2579
                                                   4,827.75
                                                   41,179.91
                                                                         07/22/19
                                                                         07/25/19




                            "
Payment                                            34,104.52             07/29/19
Payment                     2582                   17,423.51             07/31/19
Payment                     25820                  30,000.00             07/31/19
Payment                     2s5827                 33,589.83             08/02119
Payment                     25853                  30,000.00             08/05/19
Payment                     25860                  10,117.04             08/07/19
Payment                     25860                  13,766.77             08/07/19
Payment                     25860                  12,947.56             08/07/19
Payment                     25875                  29,507.21             08/09/19
Payment                     25882                  33,317.32             08/13/19
                                   !
Payment                     25882                  5,752.24              08/13/19
Payment                     25921                  29,261.14             08/19/19
Payment                     25921                  3,821.99              08/19/19
Payment                     25921                  3,390.01              08/19/19
Payment                     25946                  12,717.06             08122/19
Payment                     25946                  27,112.20             08/22/19
Payment                     2598                   11,924.38             08/28/19
Payment                     25983                  2,237.95              08/28/19
Payment                     25983                  16,550.66             08/28/19
Payment                     26003                  31,136.64             08/30/19
Payment                     26052                  20,592.37             09/06/19
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Payment                            26052                4,216.98                   09106/19
Payment                            26o79                35,338.79                  09/10/19
Payment                            26115                9,243.06                   09/13/19
Payment                            26115                20,571.12                  09/13119
Payment                            26115                1,345.35                   09/13/19
Payment                                                             573.23         09/13/19
                                   "®
Total:
900,252.74
ULI001       ULine

             Payment                           25628                  273.29                  06/28/19   purchases of packaging supplies/boxes
             Payment                           25628                  53.01                   06/28/19
             Payment                           25628                  196.29                  06128119
             Payment                           25628                  670.70                  06/28/19
             Payment                           25628                  372.01                  06/28/19
             Payment                           25628                  341.82                  06128119
             Payment                           25731                  54.44                   07/17/19
             Payment                           25731                  220.50                  07/17/19
             Payment                           25731                  582.63                  07/17/19
             Payment                           25731                  495.21                  07117119
             Payment                           25793                  289.50                  07/25/19
             Payment                           25793                  139.34                  07/25/19
             Payment                           25793                  98.72                   07125119
             Payment                           25793                  192.24                  07/25/19
             Payment                           25793                  726.59                  07/25/19
             Payment                           25936                  243.53                  08/21/19
             Payment                           25936                  317.34                  08/21/19
             Payment                           25936                  87.30                   08/21/19
             Payment                           25936                  55.75                   08121119
             Payment                           25936                  196.28                  08/21/19
             Payment                           25936                  391.41                  08/21/19
             Payment                           25936                  289.40                  08/21/19
             Payment                           25936                  717.92                  08/21/19
             Payment                           25936                  54.76                   08/21/19
             Payment                           25984                  371.28                  08/28/19
             Payment                           25984                  385.28                  08/28/19
             Payment                           25984                  107.92                  08/28/19
             Payment                           26089                  1,857.30                09/11/19
             Payment                           26089                  54.22                   09/11/19
             Payment                           26089                  373.47                  09/11/19
                                               Total:                 10,209.45
UMC002       UMC Equipment LLC
Payment              25671                 2,075.00        07/08/19                                      equipment lease payments
Payment              25724                 2,075.00        07/15/19
Payment              26019                 2,075.00        09/04/19
Total:
UNI001       Veritiv Operating Company
6,225.00                                                                                                 packaging supplies/boxes
             Case 19-32928        Doc 1    Filed 09/20/19 Entered 09/20/19 09:09:59   Desc Main
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Payment   25573        3,674.72             06/20/19
Payment   25573        2,291.94             06/20/19
Payment   2557%        1,162.51             06/20/19
Payment   25573        4,984.86             06120/19


Payment   25588                   817.04    06/24/19
                 I
Payment   25588                   667.80    06/24/19
              I
Payment   25588        1,609.93             06/24/19
              I
Payment   25588        1,682.40             06/24/19
                 I
Payment   25588        1,692.39             06/24/19
Payment   25588        2,064.60             06/24/19
               I
Payment   25588        1,260.00             06/24/19
               I
Payment   2561                    644.11    06/27119
Payment   2561         1,486.21             06/27/19
Payment   2561         3,166.00             06/27/19
Payment   2561         1,382.19             06/27/19
Payment   2561         3,203.78             06/27/19
Payment   2561,        2,897.15             06/27/19
Payment   25629        1,497.60             06/28/19
Payment   25629        1,497.60             06/28119
Payment   25629        2,598.50             06/28/19
Payment   25629        5,219.04             06/28/19
Payment   2564         5,286.36             07/03/19
Payment   2564                    625.52    07/03/19
Payment   2564                    938.96    07/03/19
Payment   2564         1,337.96             07/03/19
Payment   2564         2,833.97             07/03/19
Payment   2564         1,125.00             07/03/19
Payment   2564                    292.20    07/03/19
Payment   2564,        2,914.07             07103/19
Payment   25650        4,328.59             07/05/19
Payment   25650        9,743.88             07/05/19
                 I
Payment   25681        4,167.09             07/10/19
Payment   25687        6,649.49             07110/19
Payment   25681        2,071.54             07/10/19
              I
Payment   25698        1,079.70             07/12/19
Payment   25698        1,372.46             07112/19
Payment   2s6e         4,184.40             07112/19
Payment   25698        2,268.54             07/12/19
Payment   2569         3,560.24             07/12/19
Payment   25698                   671.61    07/12/19
Payment   25698                   335.81    07/12/19
Payment   25698        2,160.95             07/12/19
Payment   25732        5,088.73             07/17/19
Payment   25732        3,877.40             07/17/19
Payment   25732                   748.80    07/17/19
Payment   25732        2,880.00             07/17//19
              I
Payment   25782        1,069.71             07124/19
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Payment   25782         6,826.25             07/24/19
Payment   25782         4,709.06             07/24/19
               I
Payment   25782                    805.29    07/24/19

               I
Payment   25794         1,408.44             07/25/19
Payment   25794         1,226.42             07/25/19
               I
Payment   257_91                   776.72    07/25/19
Payment   2579          4,253.94             07/25/19
Payment   25819         4,859.21             07/31/19
Payment   25819         1,629.29             07/31/19
Payment   2581          6,455.62             07/3 1/19
Payment   25828                    288.76    08/02/19
Payment   2582%                    528.45    08/02/19
Payment   25828I        4,072.33             08/02/19
Payment   25828         6,148.38             08/02/19
Payment   2ses          1,094.05             08/07/19
Payment   25859         4,021.08             08/07/19
Payment   2s859         5,450.11             08/07/19
Payment   25876                    791.42    08/09/19
               I
Payment   25876                    703.61    08/09/19
Payment   25876         4,390.59             08/09/19
Payment   25876         1,354.36             08/09/19
               I
Payment   25876         5,535.09             08/09/19
Payment   25886         2,253.91             08/14/19
Payment   25886         1,898.76             08/14/19
Payment   2s886                    712.38    08/14/19
Payment   25886                    938.96    08/14/19
Payment   25886         5,407.58             08/14/19
Payment                 1,945.14             08/21/19
          2593!
Payment   2593          2,373.72             08/21/19
Payment   2593          4,016.90             08121/19
Payment   2593          1,165.08             08121/19
Payment   2594          4,316.55             08/22/19
Payment   2594          4,390.80             08/22/19
Payment   2594          4,782.14             08122/19
Payment   2594          2,365.36             08/22/19
Payment   2598          1,987.33             08/28/19
               I
Payment   25985         1,372.38             08/28/19
               I
Payment   25985         3,174.38             08/28/19
Payment   25985         2,792.93             08/28/19
Payment   26053         1,439.60             09/06/19
               I
Payment   26053         1,079.70             09/06/19
Payment   26053         2,159.40             09/06/19
Payment   26053         2,546.11             09/06/19
Payment   26053I        2,096.92             09/06/19
Payment   26053                    905.56    09/06/19
Payment   26053         8,050.51             09/06/19
               I
Payment   26053         1,740.80             09/06/19
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Payment                            26116                 3,752.49            09/13/19
Payment                            26116                 7,172.92            09/13/19
Payment                            26116                            604.02   09/13/19


Payment             26116                   11,582.30       09/13/19
Payment             26116                    1,543.61       09/13/19
Total:
277,903.85
UPF001       Upper Lakes Foods, Inc.
Payment             25735                    13,230.27      07/17/19                         loan payments
Payment             25767                    198.95         07/22/19                         purchases of miscellaneous products/supplies
Payment             25767                    132.87         07/22/19
Payment             25767                    165.19         07/22/19
Payment             25767                   90.81           07/22/19
Payment             25767                    181.14         07/22119
Payment             25767                    198.95         07/22/19
Payment             25767                   220.16          07/22119
Payment             25767                   234.07          07/22/19
Payment             25767                   416.34          07/22/19
Payment             G05479                  11,569.00       07/24/19
Payment             G05479                  -11,569.00      07/24/19
Payment             25795                    11,569.00      07/25/19
Payment             25877                    330.00         08/09/19
Payment             25877                   198.95          08/09/19
Payment             25914                   13,230.27       08/16/19
Payment             25986                   198.95          08/28/19
Payment             25986                   116.11          08/28/19
Payment             26028                   6,000.00        09/06/19
Payment             26085                   41.75           09/11/19
Payment             26085                   107.40          09/11/19
Total:
46,861.18
UPP002       ULF - Creekstone Invoices
Payment             26058                   18.452.64       09/09/19                         purchases of raw ingredients (Creekstome primals)
Payment             26058                    9,852.93       09/09/19
Total:
18,305.57
URB001       Urner Barry
Payment             25987                   [1,554.00       08128/19                         cattle market information provider
Total:
1,554.00
USD0O1       US Department of Agriculture
Payment             25630                   11,196.16       06/28/19                         USDA on-site personnel fees
Payment             25854                    1,233.54       08/05/19
Payment             25988                    2,803.50       08/28/19
Total:
5,233.20
USD002       US Department of Agriculture,IAMS
Payment             25812                    1,798.63       07/29/19                         USDA on-site personnel fees
Total:
1,798.63
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USG0o1     United Staffing Group, LLC
Payment           25631                   I   686.25      06/28/19


Payment                           25733                  393.75               07717/19      provides temporary worker services
                                       i
Payment                           25733                  388.13               07117/19
Payment                           25733                  309.38               07/17/19
Payment                           25783                  1,144.69             07/24/19
                                       i
Payment                           25855                  267.13               08/05/19
Payment                           25855                  1,387.67             08105/19
Payment                           25883                  1,446.79             08/13/19
Payment                           25883                  1,877.24             08/13/19
Payment                           25990                  1,801.89             08/28/19
Payment                           2599d                  1,671.17             08/28/19
Payment                           2600j                  1,903.05             08/30/19
Payment                           2605                   1,765.67             09/06/19
Payment                                                  1,794.81             09/13/19



                                  »
                                                         16,837.62
                                  Total
UWP001     UW Provision Co
Payment                           2557                   16,681.50            06/21/19      purchases of raw ingredients
Payment                           2sea2                  28,098.00            06/28/19
Payment                           2568~                  100.00               07/10/19
Payment                           2568                   24,710.40            07110119
Payment                           25682                  4,032.00             07/10/19
Payment                           25734                  24,354.90            07/17/19
Payment                           25784                  45,116,45            07124119
Payment                           25784                  100.00               07/24119
                                       I

Payment                           25856                  16,431.30            08/05/19
                                          I
Payment                           25890                  20,302.20            08/14/19
Payment                           25930                  40,140.00            08/20/19
Payment                           25976                  28,357.20            08/27/19
Payment                           26055                  8,254.80             09/06/19
Payment                           26055                  16,127.10            09/06/19
Payment                           26055                  100.00               09/06/19
Payment                           26118                  18,041.94            09/13/19
                                       I
Payment                           26118                  842.80               09/13/19
Payment                           26118                  100.00               09/13/19
Payment                           26 11                  100.00               09/13/19
                                  Total                  291,990.59
WBT001     White Bear Township
Payment           25857                       7,665.69    08/05/19                          water/sewer charges
Total:
WRT001     Winnesota Regional Transpo ation, LL C
7,665.69                                                                                    delivery services
Payment                           2568                   188.70              07/10/19
Payment                           25683                  188.70              07/10/19
Payment                           25931                  188.70              08/20119
                                          I
Payment                           25989                  188.70              08128/19
Payment                           2608 1                 188.70              09/11/19
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                                 Total:                    943.50


XCE001     Xcel Energy                                                              natural gas provider
Payment           25633                   244.04     06/28/19
Payment           25815                   415.41     07/29/19
Payment           25977                   260.87     08/27/19
Total:
920.32
ZEP001     ZEP I Acuity Specialty Produ s
Payment
Payment
                  25813
                  26102
                                      1   975.99
                                          1,553.99
                                                     07/29/19
                                                     09/11/19
                                                                                    plant cleaning supplies

Payment           26102                   87.35      09/11/19
Total:
2,617.33
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LOCAL FORM 1007-1
REVISED 06/16
                                                               United States Bankruptcy Court
                                                                      District of Minnesota
 In re      Rancher's Legacy Meat Co.                                                                          Case No.
                                                                                    Debtor(s)                  Chapter    11


                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
bankruptcy case is as follows:

 For legal Services, I have agreed to accept ............................                     $   100,000.00
 Prior to the filing of this statement I have received                     ..............     $   0.00
 Balance Due ............................................................................     $   100,000.00


2.     The source of the compensation paid to me was:
             Debtor                               Other (specify)

3.     The source of the compensation to be paid to me is:
             Debtor                                 Other (specify)

4.      I have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

        I have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law firm. A copy of the agreement, together with a list of the names of the people or entities sharing in
the compensation, is attached.

5.    In return for the above-disclosed fee, together with such further fee, if any, as is provided in the written contract
required by 11 U.S.C. §528(a)(1), I have agreed to render legal service for all aspects of the bankruptcy case, including:

         A. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
         petition in bankruptcy;

         B. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

         C. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
         thereof;

         D. Representation of the debtor in contested bankruptcy matters; and

         E. Other services reasonably necessary to represent the debtor(s).

6. Pursuant to Local Rules 1007-1 and 1007-3-1, I have advised the debtor of the requirements in the Statement of
Financial Affairs to disclose all payments made, or property transferred, by or on behalf of the debtor to any person,
including attorneys, for consultation concerning debt consolidation or reorganization, relief under bankruptcy law, or
preparation of a petition in bankruptcy. I have reviewed the debtor's disclosures and they are accurate and complete to the
best of my knowledge.



                                                                        CERTIFICATION
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REVISED 06/16


       I certify that the foregoing, together with the written contract required by 11 U.S.C. §528(a)(1), is a complete
statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy case.

 Dated: September 20, 2019                                                    Signature of Attorney
                                                                              /s/ Cameron A. Lallier
                                                                              Cameron A. Lallier 393213




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                                                               United States Bankruptcy Court
                                                                         District of Minnesota
 In re      Rancher's Legacy Meat Co.                                                                                 Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 SSJR, LLC                                                           Equity,          80
 1306 West Taylor                                                    common
 Cloquet, MN 55720


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 20, 2019                                                       Signature /s/ Arlyn J. Lomen
                                                                                            Arlyn J. Lomen

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                 Debtor(s)        Chapter      11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 20, 2019                                       /s/ Arlyn J. Lomen
                                                                      Arlyn J. Lomen/President
                                                                      Signer/Title




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                      44 FARMS ANGUS STEAKS
                      101 N HOUSTON AVE.
                      CAMERON TX 76520



                      AMERIPRIDE SERVICES, INC.
                      PO BOX 518
                      BEMIDJI MN 56619-0518



                      ASC MEYNERS INC
                      5140 PALM VALLEY ROAD
                      PONTE VEDRA BEACH FL 32082



                      AWARD STAFFING
                      PO BOX 160
                      MINNEAPOLIS MN 55434-0160



                      BEN E. KEITH - GENERAL OFFICE
                      7600 WILL ROGERS BLVD.
                      FORT WORTH TX 76140



                      C. H. ROBINSON WORLDWIDE,INC.
                      PO BOX 9121
                      MINNEAPOLIS MN 55480-9121



                      CHECKERS - RALLY'S
                      4300 WEST CYPRESS STREET, STE.
                      TAMPA FL 33607



                      CITY OF VADNAIS HEIGHTS
                      800 EAST COUNTY ROAD E
                      VADNAIS HEIGHTS MN 55127



                      CLOVERDALE FOODS COMPANY
                      PO BOX 75072
                      CHICAGO IL 60675-5072
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                  COMCAST - XFINITY
                  PO BOX 34227
                  SEATTLE WA 98124-1227



                  COMPART FAMILY FARMS, INC.
                  45198 400TH STREET
                  NICOLLET MN 56074



                  CONNEXUS ENERGY
                  PO BOX 1808
                  MINNEAPOLIS MN 55480-1808



                  CREEKSTONE FARMS & PREMIUM BEE
                  604 GOFF INDUSTRIAL PARK
                  ARKANSAS CITY KS 67005



                  DALCO ENTERPRISES. INC.
                  PO BOX 64777
                  SAINT PAUL MN 55164-0777



                  DEFINITIVE TECHNOLOGY SOLUTION




                  DTS INC.
                  9401 JAMES AVENUE S.
                  SUITE 120
                  BLOOMINGTON MN 55431



                  ECOLAB PEST ELIM. DIV.
                  26252 NETWORK PLACE
                  CHICAGO IL 60673-1262



                  EMPIRICAL FOODS, INC.
                  DBA NVM DISTRIBUTION LLC NV
                  891 TWO RIVERS DRIVE
                  DAKOTA DUNES SD 57049
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                  FIDELITY BANK CARDMEMBER SERVI
                  PO BOX 790408
                  SAINT LOUIS MO 63179-0408



                  FOODSERVICE NEWS
                  2808 ANTHONY LANE SOUTH
                  MINNEAPOLIS MN 55418



                  GREAT PLAINS BEEF LLC
                  PO BOX 82545
                  LINCOLN NE 68501



                  GREEN BAY PACKAGING, INC.
                  BIN NO. 53139
                  MILWAUKEE WI 53288



                  INNOVATIVE OFFICE SOLUTIONS
                  PO BOX 860627
                  MINNEAPOLIS MN 55486-0627



                  IVY FARMS INC.
                  PO BOX 6
                  RUSH CITY MN 55069



                  J&B GROUP
                  PO BOX 860408
                  MINNEAPOLIS MN 55486-0408



                  J&B PARTNERS INC.
                  PO BOX 212
                  13200 43RD ST NE
                  SAINT MICHAEL MN 55376



                  JAMES A. RATCLIFF
                  RATCLIFF RANCH
                  24631 SOUTH HIGHWAY 2
                  VINITA OK 74301
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                  JAMES A. RATCLIFF
                  RATCLIFF RANCH
                  24631 SOUTH HIGHWAY 2
                  VINITA OK 74301



                  JAMES A. RATCLIFF
                  RATCLIFF RANCH
                  24631 SOUTH HIGHWAY 2
                  VINITA OK 74301



                  JAMES A. RATCLIFF
                  RATCLIFF RANCH
                  24631 SOUTH HIGHWAY 2
                  VINITA OK 74301



                  JAMES L. RATCLIFF AS TRUSTEE
                  4301 WHITE BEAR PARKWAY
                  VADNAIS HEIGHTS MN 55110



                  LOWER FOODS
                  DOUBLE L MEATS
                  RICHMOND UT 84333



                  MIDWEST REFRIGERATED TRANSPORT
                  PO BOX 770
                  ELKHORN WI 53121



                  MYTECH PARTNERS, INC
                  300 2ND ST NW
                  NEW BRIGHTON MN 55112



                  NEW ANGUS, LLC - DEMKOTA
                  PO BOX 30260
                  OMAHA NE 68103-1360



                  NEXTERA COMMUNICATIONS
                  PO BOX 2945
                  BAXTER MN 56425-9998
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                  NISSAN MOTOR ACC. CORP.




                  NISSAN MOTOR ACCEPTANCE CORP




                  OCSHNER PARTNERSHIP
                  ATTN: TODD OCSHNER
                  13350 - 379TH AVENUE
                  ABERDEEN SD 57401



                  PAYDAYZ STAFFING SOLUTIONS INC
                  10740 LYNDALE AVE. SOUTH, #16E
                  BLOOMINGTON MN 55420



                  PIONEER MEATS, LLC
                  915 E. MAPLE ROAD
                  BIRMINGHAM MI 48009



                  POHL FOOD SERVICE
                  510 KASOTA AVENUE
                  MINNEAPOLIS MN 55414



                  PRO CLEANING BROTHER'S SERVICE
                  5441 N 4TH STREET
                  BROOKLYN CENTER MN 55430



                  PROFESSIONAL DRIVEN SOLUTIONS
                  120 S. WILSON, SUITE A
                  ATTN: DEBI S. HOOD, CEO
                  VINITA OK 74301



                  PROVISUR TECHNOLOGIES
                  24558 NETWORK PLACE
                  CHICAGO IL 60673-1245
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                  QUALITY FORKLIFT SALES & SVC
                  587 CITATION DRIVE
                  SHAKOPEE MN 55379



                  RATCLIFF RANCH
                  24631 SOUTH HIGHWAY 2
                  VINITA OK 74301



                  RATCLIFF RANCH
                  24631 SOUTH HIGHWAY 2
                  VINITA OK 74301



                  REFRIGERATED TRANSPORT, INC.
                  PO BOX 6008
                  ARLINGTON TX 76005-6008



                  REFRIGERATED TRANSPORT, INC.
                  PO BOX 6008
                  ARLINGTON TX 76005-6008



                  ROME LTD
                  PO BOX 186
                  SHELDON IA 51201



                  ROYAL FOODS, INC.
                  PO BOX 270165
                  GOLDEN VALLEY MN 55427-6165



                  SSJR, LLC
                  1306 WEST TAYLOR
                  CLOQUET MN 55720



                  SYSCO NEW MEXICO, LLC
                  601 COMANCHE NORTH EAST
                  ALBUQUERQUE NM 87125
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                  TEAM PERSONNEL SERVICE, INC.
                  259 UNIVERSITY AVE WEST
                  SAINT PAUL MN 55103



                  THOUSAND HILLS
                  12925 PROSPERITY AVENUE
                  BECKER MN 55308



                  TRADEMARK TRANSPORTATION, INC.
                  PO BOX 64963
                  SAINT PAUL MN 55164-0963



                  ULINE
                  PO BOX 88741
                  CHICAGO IL 60680-1741



                  UMC EQUIPMENT LLC




                  UMC EQUIPMENT, LLC
                  827 HIGHLANDER TRAIL
                  HUDSON WI 54016



                  UNIPRO FOOD SERVICE
                  2500 CUMBERLAND PKWY SE # 600
                  ATLANTA GA 30339



                  UNITED STAFFING GROUP, LLC
                  5501 LAKELAND AVENUE
                  CRYSTAL MN 55429



                  UPPER IOWA BEEF, LLC
                  4614 HIGHWAY 63
                  LIME SPRINGS IA 52155
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                  UPPER LAKES FOODS
                  801 INDUSTRY AVE.
                  CLOQUET MN 55720



                  UW PROVISION CO.
                  PO BOX 620038
                  2315 PLEASANT VIEW ROAD
                  MIDDLETON WI 53562-0038



                  VERITIV CORPORATION
                  VERITIV OPERATING COMPANY
                  7472 COLLECTION CENTER DRIVE
                  CHICAGO IL 60693



                  WHITE BEAR TOWNSHIP
                  1281 HAMMOND RD.
                  WHITE BEAR TOWNSHIP MN 55110



                  WINNESOTA REGIONAL TRANS. INC.
                  10100 CROSSTOWN CIRCLE
                  EDEN PRAIRIE MN 55344



                  XCEL ENERGY
                  PO BOX 9477
                  MINNEAPOLIS MN 55484-9477
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Rancher's Legacy Meat Co. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 SSJR, LLC
 1306 West Taylor
 Cloquet, MN 55720




    None [Check if applicable]




 September 20, 2019                                                  /s/ Cameron A. Lallier
 Date                                                                Cameron A. Lallier 393213
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Rancher's Legacy Meat Co.
                                                                     Foley & Mansfield PLLP
                                                                     250 Marquette Avenue, Suite 1200
                                                                     Minneapolis, MN 55401
                                                                     612-338-8788 Fax:612-338-8690
                                                                     jlavaque@foleymansfield.com




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